Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 1 of 48




                 Exhibit 1
Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 2 of 48
Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 3 of 48
Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 4 of 48
Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 5 of 48




            EXHIBIT A
                   Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 6 of 48

         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                  If You Bought A Cathode Ray Tube Product,
                                                   A Class Action Settlement May Affect You.
              Cathode Ray Tube (CRT) Products include Cathode Ray Tubes and finished products that
                     contain a Cathode Ray Tube such as Televisions and Computer Monitors.
                       A Federal Court authorized this Notice. This is not a solicitation from a lawyer.
   A class action lawsuit that includes direct purchasers of CRT Products is currently pending.
   Plaintiffs claim that Defendants (listed below) and co-conspirators engaged in an unlawful conspiracy to fix, raise, maintain or
    stabilize the prices of Cathode Ray Tubes. Plaintiffs further claim that direct purchasers of televisions and monitors that contain a
    cathode ray tube from the Defendants may recover for the effect that the cathode ray tube conspiracy had on the prices of
    televisions and monitors. Plaintiffs allege that, as a result of the unlawful conspiracy involving cathode ray tubes, they and other
    direct purchasers paid more for CRT Products than they would have paid absent the conspiracy. Defendants deny Plaintiffs’
    claims.
   Settlements have been reached with (1) Samsung SDI Co. Ltd. (f/k/a Samsung Display Devices Co., Ltd.); Samsung SDI
    America, Inc.; Samsung SDI Brasil, Ltd.; Tianjin Samsung SDI Co., Ltd.; Samsung Shenzhen SDI Co., Ltd.; SDI Malaysia Sdn.
    Bhd.; and SDI Mexico S.A. de C.V. (collectively “Samsung SDI”) and (2) Hitachi, Ltd., Hitachi Displays, Ltd. (n/k/a Japan
    Display Inc.), Hitachi America, Ltd., Hitachi Asia, Ltd., and Hitachi Electronic Devices (USA) Inc. (collectively, “Hitachi”). The
    companies are together referred to as the “Settling Defendants.”
   Your legal rights will be affected whether you act or don’t act. This Notice includes information on the Settlements and the
    continuing lawsuit. Please read the entire Notice carefully.
                        These Rights and Options – and deadlines to exercise them – are explained in this notice.
                            You can object or comment on the Settlements                                                           see Question 10
                            You may exclude yourself from the Settlements                                                          see Question 10
                            You may go to a hearing and comment on the Settlements                                                 see Question 14
   The Court in charge of this case still has to decide whether to approve the Settlements. The case against the non-settling
    defendants and co-conspirators continues.
                                                               WHAT THIS NOTICE CONTAINS
        Basic Information .............................................................................................................................................. Page 2
              1.    Why did I get this notice?
              2.    Who are the Defendant companies?
              3.    What is this lawsuit about?
              4.    Why are there Settlements but the litigation is continuing?
              5.    What is a Cathode Ray Tube Product?
              6.    What is a class action?
        The Settlement Class ........................................................................................................................................ Page 3
              7. How do I know if I’m part of the Settlement Class?
              8. What do the Settlements provide?
              9. When can I get a payment?
              10. What are my rights in the Settlement Class?
              11. What am I giving up to stay in the Settlement Class?
        The Settlement Approval Hearing .................................................................................................................. Page 4
              12. When and where will the Court decide whether to approve the Settlements?
              13. Do I have to come to the hearing?
              14. May I speak at the hearing?
        The Lawyers Representing You ...................................................................................................................... Page 4
              15. Do I have a lawyer in the case?
              16. How will the lawyers be paid?
        Getting More Information ............................................................................................................................... Page 4
              17. How do I get more information?

            For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
                                                              1
                  Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 7 of 48
                                                         BASIC INFORMATION
1.       Why did I get this notice?
You or your company may have directly purchased Cathode Ray Tubes (CRTs) or certain products containing those tubes between
March 1, 1995 and November 25, 2007. A direct purchaser is a person or business who bought a CRT, or a television or computer
monitor containing a CRT directly from one or more of the Defendants, co-conspirators, affiliates, or subsidiaries themselves, as
opposed to an intermediary (such as a retail store).
You have the right to know about the litigation and about your legal rights and options before the Court decides whether to approve
the Settlements.
The notice explains the litigation, the settlements, and your legal rights.
The Court in charge of the case is the United States District Court for the Northern District of California, and the case is called In re
Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917. The people who sued are called Plaintiffs and the companies they sued
are called Defendants.
2.       Who are the Defendant companies?
The Defendant companies include: LG Electronics, Inc., LG Electronics U.S.A., Inc., LG Electronics Taiwan Taipei Co., Ltd.,
Koninklijke Philips Electronics N.V., Philips Electronics North America Corporation, Philips Electronics Industries (Taiwan), Ltd.,
Philips da Amazonia Industria Electronica Ltda., LP Displays International, Ltd. f/k/a LG.Philips Displays, Samsung Electronics Co.,
Ltd., Samsung Electronics America, Inc., Samsung SDI Co. Ltd., Samsung SDI America, Inc., Samsung SDI Mexico S.A. de C.V.,
Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co. Ltd., Tianjin Samsung SDI Co. Ltd., Samsung SDI Malaysia Sdn. Bhd.,
Toshiba Corporation, Toshiba America Consumer Products, L.L.C., Toshiba America Information Systems, Inc., Toshiba America
Electronic Components, Inc., Panasonic Corporation f/k/a Matsushita Electric Industrial, Ltd., Panasonic Corporation of North
America, MT Picture Display Co., Ltd., Beijing-Matsushita Color CRT Company, Ltd. (BMCC), Hitachi, Ltd., Hitachi Displays, Ltd.
(n/k/a Japan Display Inc.), Hitachi Electronic Devices (USA), Inc., Hitachi America, Ltd., Hitachi Asia, Ltd., Tatung Company of
America, Inc., Chunghwa Picture Tubes Ltd., Chunghwa Picture Tubes (Malaysia) Sdn. Bhd., IRICO Group Corporation, IRICO
Display Devices Co., Ltd., IRICO Group Electronics Co., Ltd., Thai CRT Company, Ltd., Daewoo Electronics Corporation f/k/a
Daewoo Electronics Company, Ltd., Daewoo International Corporation, Irico Group Corporation, Irico Group Electronics Co., Ltd.,
and Irico Display Devices Co., Ltd.
3.       What is this lawsuit about?
The lawsuit alleges that Defendants and co-conspirators conspired to raise and fix the prices of CRTs and the CRTs contained in
certain finished products for over ten years, resulting in overcharges to direct purchasers of those CRTs and certain finished products
containing CRTs. The complaint describes how the Defendants and co-conspirators allegedly violated the U.S. antitrust laws by
establishing a global cartel that set artificially high prices for, and restricted the supply of CRTs and the televisions and monitors that
contained them. Defendants deny Plaintiffs’ allegations. The Court has not decided who is right.
4.       Why are there Settlements but the litigation is continuing?
Only some of the Defendants have agreed to settle the lawsuit. This notice concerns settlements with Samsung SDI and Hitachi.
Plaintiffs have also reached five previous settlements with Chunghwa Picture Tubes Ltd., Chunghwa Picture Tubes (Malaysia) Sdn.
Bhd.; Koninklijke Philips Electronics N.V.; Philips Electronics North America Corporation, Philips Electronics Industries (Taiwan),
Ltd.; Philips da Amazonia Industria Electronica Ltda.; Panasonic Corporation (f/k/a Matsushita Electric Industrial, Ltd.); Panasonic
Corporation of North America; MT Picture Display Co., Ltd. (this settlement also releases Beijing-Matsushita Color CRT Company,
Ltd.); LG Electronics, Inc.; LG Electronics U.S.A., Inc.; LG Electronics Taiwan Taipei Co., Ltd. (this settlement also releases LP
Displays International, Ltd. f/k/a LG.Philips Displays.); Toshiba Corporation; Toshiba America Information Systems, Inc.; Toshiba
America Consumer Products, L.L.C.; Toshiba America Electronic Components, Inc. The five previous settlements have been finally
approved by the Court. The case is continuing against the remaining non-settling defendants and co-conspirators. Additional money
may become available in the future as a result of a trial or future settlements, but there is no guarantee that this will happen.
5.       What is a Cathode Ray Tube Product?
For the purposes of the Settlement, Cathode Ray Tube Products means Cathode Ray Tubes of any type (e.g. color display tubes and
color picture tubes) and finished products which contain Cathode Ray Tubes, such as Televisions and Computer Monitors.
6.       What is a class action?
In a class action, one or more people, called class representatives, sue on behalf of people who have similar claims. All these people
are members of the class, except for those who exclude themselves from the class.
If the Plaintiffs obtain money or benefits as a result of a trial or future settlement, you will be notified about those settlements, if any, at
that time. Important information about the case will be posted on the website, www.CRTDirectPurchaserAntitrustSettlement.com as it
becomes available. Please check the website to be kept informed about any future developments.


            For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
                                                              2
                  Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 8 of 48
                                                      THE SETTLEMENT CLASS
7.        How do I know if I’m part of the Settlement Class?
The Settlement Class includes:
All persons and entities who, between March 1, 1995 and November 25, 2007, directly purchased a CRT Product in the United States
from any defendant or subsidiary or affiliate thereof, or any co-conspirator. (“Settlement Class”).
8.        What do the Settlements provide?
The Settlement with Samsung SDI provides for a payment in the amount of $33,000,000 in cash to the Settlement Class. The Settling
Defendants also agreed to cooperate with the Plaintiffs in providing certain information about the allegations in the complaint. In addition,
the Settling Defendants’ sales remain in the case for the purpose of computing damages against the remaining non-settling defendants.
The Settlement with Hitachi provides for a payment in the amount of $13,450,000 in cash to the Settlement Class. The Settling Defendants
also agreed to cooperate with the Plaintiffs in providing certain information about the allegations in the complaint. In addition, the Settling
Defendants’ sales remain in the case for the purpose of computing damages against the remaining non-settling defendants.
More details are in the Settlement Agreement, available at www.CRTDirectPurchaserAntitrustSettlement.com.
9.        When can I get a payment?
No money will be distributed to any Class Member yet. The lawyers will pursue the lawsuit against the non-settling defendants to see
if any future settlements or judgments can be obtained in the case and then be distributed together, to reduce expenses.
Any future distribution of the Settlement Funds will be done on a pro rata basis. You will be notified in the future when and where to
send a claim form. DO NOT SEND ANY CLAIMS NOW.
In the future, each class member’s pro rata share of the Settlement Fund will be determined by computing each valid claimant’s total
CRT Product purchases divided by the total valid CRT Product purchases claimed. This percentage is multiplied to the Net
Settlement Fund (total settlements minus all costs, attorneys’ fees, and expenses) to determine each claimant’s pro rata share of the
Settlement Fund. To determine your CRT Product purchases, CRT tubes (CPTs and CDTs) are calculated at full value while CRT
televisions are valued at 50% and CRT computer monitors are valued at 75%.
In summary, all valid claimants will share in the settlement funds on a pro rata basis determined by the CRT value of the product you
purchased - tubes 100%, monitors 75% and televisions 50%.
10.       What are my rights with regard to the Settlement Class?
Remain in the Settlement Class: If you wish to remain a member of the Settlement Class you do not need to take any action at this time.
Get out of the Settlement Class: If you wish to keep any of your rights to sue the Settling Defendants about the claims in this case,
you must exclude yourself from the Settlement Class. You will not get any money from the settlements if you exclude yourself from
the Settlement Class.
To exclude yourself from the Settlement Class, you must send a letter that includes the following:
         Your name, address and telephone number,
         A statement saying that you want to be excluded from In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917,
          Hitachi Settlement and/or Samsung SDI Settlement; and
         Your signature.
You must mail your exclusion request, postmarked no later than June 12, 2014, to:
                                                          CRT Direct Settlement
                                                          c/o Gilardi & Co. LLC
                                                              P.O. Box 8090
                                                        San Rafael, CA 94912-8090
                                                            Tel: 877-224-3063
Remain in the Settlement Class and Object: If you have comments about, or disagree with, any aspect of the Settlements, you may
express your views to the Court by writing to the address below. The written response needs to include your name, address, telephone
number, the case name and number (In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917), a brief explanation of your
reasons for objection, and your signature. The response must be postmarked no later than June 12, 2014 and mailed to:
 COURT                               INTERIM LEAD COUNSEL               COUNSEL FOR SAMSUNG SDI                   COUNSEL FOR HITACHI
 Honorable Samuel Conti              Guido Saveri                       Gary Halling                              James H. Mutchnik
 United States District Court        R. Alexander Saveri                SHEPPARD MULLIN RICHTER &                 Kirkland & Ellis LLP
 Northern District of California     SAVERI & SAVERI, INC.              HAMPTON LLP                               300 North LaSalle
 San Francisco Division              706 Sansome Street                 Four Embarcadero Center, 17th Floor       Chicago, IL 60654
 450 Golden Gate Avenue              San Francisco, CA 94111            San Francisco, CA 94111-4109
 Courtroom 3, 17th floor
 San Francisco, CA 94102


            For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
                                                              3
                 Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 9 of 48
11.      What am I giving up to stay in the Settlement Class?
Unless you exclude yourself from the Settlement Class, you can’t sue the Settling Defendants (or any of the related entities that are
released in the Settlement Agreement), or be part of any other lawsuit against these Settling Defendants about the legal issues in this
case. It also means that all of the decisions by the Court will bind you. The “Release of Claims” includes any causes of actions
asserted or that could have been asserted in the lawsuit, as described more fully in the Settlement Agreement. The Settlement
Agreement is available at www.CRTDirectPurchaserAntitrustSettlement.com.
                                           THE SETTLEMENT APPROVAL HEARING
12.      When and where will the Court decide whether to approve the Settlements?
The Court will hold a Fairness Hearing at 10:00 a.m. on August 22, 2014, at the United States District Court for the Northern District
of California, San Francisco Division, in Courtroom 1 on the 17th Floor, at 450 Golden Gate Ave. The hearing may be moved to a
different date or time without additional notice, so it is a good idea to check the class website for information. At this hearing, the
Court will consider whether the Settlements are fair, reasonable and adequate. If there are objections or comments, the Court will
consider them at that time. After the hearing, the Court will decide whether to approve the Settlements. We do not know how long
these decisions will take.
13.      Do I have to come to the hearing?
No. Interim Lead Counsel will answer any questions the Court may have, but you are welcome to come at your own expense. If you
send an objection or comment, you don’t have to come to Court to talk about it. As long as you mailed your written objection on time,
the Court will consider it. You may also pay another lawyer to attend, but it’s not required.
14.      May I speak at the hearing?
If you want your own lawyer instead of Interim Lead Counsel to speak at the Fairness Hearing, you must give the Court a paper that is
called a “Notice of Appearance.” The Notice of Appearance should include the name and number of the lawsuit (In re Cathode Ray
Tube (CRT) Antitrust Litigation, MDL No. 1917), and state that you wish to enter an appearance at the Fairness Hearing. It also must
include your name, address, telephone number, and signature. Your “Notice of Appearance” must be postmarked no later than
June 12, 2014. You cannot speak at Hearing if you previously asked to be excluded from the Settlement.
The Notice of Appearance must be sent to the addresses listed in Question 10.
                                             THE LAWYERS REPRESENTING YOU
15.      Do I have a lawyer in the case?
Yes. The Court has appointed the law firm of Saveri & Saveri, Inc. to represent you as “Interim Lead Counsel.” You do not have to
pay Interim Lead Counsel. If you want to be represented by your own lawyers, and have that lawyer appear in court for you in this
case, you may hire one at your own expense.
16.      How will the lawyers be paid?
Class Counsel are not asking for attorneys’ fees at this time. At a future time, Interim Lead Counsel will ask the Court for attorneys’
fees not to exceed one-third (33.3%) of this or any future Settlement Fund plus reimbursement of their costs and expenses, in
accordance with the provisions of the Settlement Agreement. Interim Lead Counsel may also request that an amount be paid to each
of the Class Representatives who helped the lawyers on behalf of the whole Class.
                                               GETTING MORE INFORMATION
17.      How do I get more information?
This Notice summarizes the lawsuit and the Settlement. You can get more information about the lawsuit and Settlement at
www.CRTDirectPurchaserAntitrustSettlement.com., by calling 1-877-224-3063, or writing to CRT Direct Settlement, P.O. Box
808003, Petaluma, CA 94975. Please do not contact the Court about this case.
Dated: April 28, 2014                                            BY ORDER OF THE COURT




           For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
                                                             4
Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 10 of 48




             EXHIBIT B
P2JW118000-0-C00500-1--------XA                                                                               CL,CN,CX,DL,DM,DX,EE,EU,FL,HO,KC,MW,NC,NE,NY,PH,PN,RM,SA,SC,SL,SW,TU,WB,WE
           CMYK       Composite                                                                               BG,BM,BP,CC,CH,CK,CP,CT,DN,DR,FW,HL,HW,KS,LA,LG,LK,MI,ML,NM,PA,PI,PV,TD,TS,UT,WO
                                                                                                       Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 11 of 48


     THE WALL STREET JOURNAL.                                                                                                                                                                                                                                                                                                  Monday, April 28, 2014 | C5

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                             CLOSED-END FUNDS & MONEY RATES
                                                                               WSJ.com/fundresearch                                                                                                 Legal Notices
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     Listed are the 300 largest closed-end funds as measured by                                                                 52 wk                                          Prem 12 Mo
     assets.                                                                                                               Prem    Ttl   Fund (SYM)                  NAV Close /Disc Yld
     Closed-end funds sell a limited number of shares and invest the
     proceeds in securities. Unlike open-end funds, closed-ends generally
                                                                               Fund (SYM)                      NAV Close /Disc Ret
                                                                                                                                          BlackRock Municipal Trust BFK 14.26 13.64 -4.3      6.8                                                                                     CLASS ACTIONS
     do not buy their shares back from investors who wish to cash in           World Equity Funds                                         BlackRockMuni BLE             14.86 14.46 -2.7      7.1
     their holdings. Instead, fund shares trade on a stock exchange.
     a-The NAV and market price are ex dividend. b-The NAV is fully              Aberdeen Greater China FdGCH 11.27 9.92 -12.0 -6.3       BlackRockMuni Tr BYM 15.03 14.14 -5.9               6.8
     diluted. c-NAV is as of Thursday’s close. d-NAV is as of                    Aberdeen Lat Amer LAQ 31.60 28.55 -9.7 -13.5             BlkRk MuniAssets Fd MUA 13.54 12.82 -5.3            6.1
     Wednesday’s close. e-NAV assumes rights offering is fully                   Alpine Tot Dyn Div AOD 9.84 8.43 -14.3 10.7
     subscribed. f-Rights offering in process. g-Rights offering announced.                                                               BlkRk Munienhanced MEN 11.94 11.32 -5.2             6.6
     h-Lipper data has been adjusted for rights offering. j-Rights offering      Calamos Glbl Dyn Inc CHW 10.15 9.15 -9.9 11.0            BlkRk MuniHldgs Inv MFL 14.90 13.74 -7.8            6.4
     has expired, but Lipper data not yet adjusted. l-NAV as of previous
     day. o-Tender offer in process. v-NAV is converted at the
                                                                                 Cdn Genl Inv CGI              26.88 18.29 -32.0 22.0     BlkRk MuniHldgs Qlty II MUE 14.23 13.20 -7.2        6.6                                                       /(*$/ 127,&(
                                                                                 Ctrl Europe Russia Fd CEE 28.17 25.33 -10.1 -13.7
     commercial Rand rate. w-Convertible Note-NAV (not market)
                                                                                 China Fund CHN                22.76 20.04 -12.0 11.5
                                                                                                                                          BlkRk MuniVest MVF             9.99 9.68 -3.1       7.3            ,I <RX %RXJKW $ &DWKRGH 5D\ 7XEH ³&57´ RU &57 3URGXFW $ &ODVV $FWLRQ 6HWWOHPHQW 0D\ $IIHFW <RX
     conversion value. y-NAV and market price are in Canadian dollars.                                                                    BlkRk MuniVest II MVT 15.43 15.05 -2.5              7.2
     NA signifies that the information is not available or not applicable.       Clough Glbl Eqty Fd GLQ 16.79 15.06 -10.3 13.8                                                                                      &57 3URGXFWV LQFOXGH 7HOHYLVLRQV RU &RPSXWHU 0RQLWRUV WKDW FRQWDLQ &DWKRGH 5D\ 7XEHV
     NS signifies fund not in existence of entire period.                                                                                 BlkRk MuniYield MYD 14.70 14.24 -3.1                7.2
     12 month yield is computed by dividing income dividends paid                Clough Global Opp Fd GLO 14.40 12.47 -13.4 6.7           BlkRk MuniYld Quality MQY 15.73 14.89 -5.3          6.6
     (during the previous twelve months for periods ending at month-             EtnVncTxAdvGblDiv ETG 17.96 16.73 -6.8 13.5              BlkRk MuniYld Qlty II MQT 13.78 12.92 -6.2          6.7     6HWWOHPHQWV KDYH EHHQ UHDFKHG ZLWK WZR JURXSV RI GHIHQGDQWV LQ D FODVV                          LQ FDVK WR WKH 6HWWOHPHQW &ODVV %RWK 6HWWOLQJ 'HIHQGDQWV DJUHHG WR
     end or during the previous fifty-two weeks for periods ending at
     any time other than month-end) by the latest month-end market               EatonVance TxAdv Opport ETO 26.09 24.07 -7.7 14.2        BlRkMunyldQltyIII MYI 14.66 13.95 -4.8              6.3     DFWLRQ ODZVXLW LQYROYLQJ &57V DQG &57 3URGXFWV 7KHVH DUH WKH VL[WK                             FRRSHUDWH ZLWK WKH 3ODLQWLIIV LQ SURYLGLQJ FHUWDLQ LQIRUPDWLRQ DERXW WKH
     price adjusted for capital gains distributions.                             GDL Fund GDL                  12.48 11.02 -11.7 5.7      Dreyfus Muni Income DMF 9.48 9.22 -2.7              6.9     DQG VHYHQWK VHWWOHPHQWV WR GDWH &57 VWDQGV IRU ³&DWKRGH 5D\ 7XEH´                             DOOHJDWLRQV LQ WKH &RPSODLQW 0RQH\ ZLOO QRW EH GLVWULEXWHG WR &ODVV
                                                              Source: Lipper                                   24.90 22.19 -10.9 10.7                                                                 ³&DWKRGH 5D\ 7XEH &57 3URGXFWV´ LQFOXGH &DWKRGH 5D\ 7XEHV DQG
                                                                                 India Fund IFN                                           Dreyfus Strat Muni Bond DSM 8.37 8.02 -4.2          7.3                                                                                                     PHPEHUV DW WKLV WLPH 7KH ODZ\HUV ZLOO SXUVXH WKH ODZVXLW DJDLQVW
                          Friday, April 25, 2014                                 ING Emerg Mkts Hi Div Equ IHD 12.67 11.72 -7.5 -11.2                                                                 ¿QLVKHG SURGXFWV WKDW FRQWDLQ D &DWKRGH 5D\ 7XEH VXFK DV 7HOHYLVLRQV                            RWKHU GHIHQGDQWV DQG FRFRQVSLUDWRUV WR VHH LI DQ\ IXWXUH VHWWOHPHQWV RU
                                                      52 wk                                                                               Dreyfus Strategic Munis LEO 8.55 8.25 -3.5          7.2
                                                                                 ING Infrastructure Indu IDE 19.15 17.33 -9.5 13.6
                                                                                                                                          DWS Muni Inco KTF             13.39 13.30 -0.7      6.4     DQG &RPSXWHU 0RQLWRUV                                                                          MXGJPHQWV FDQ EH REWDLQHG LQ WKH FDVH DQG WKHQ EH GLVWULEXWHG WRJHWKHU
                                                Prem     Ttl                     Korea Fund Inc KF             44.89 40.32 -10.2 6.6
     Fund (SYM)                      NAV Close /Disc Ret                                                                                  Eaton Vance Mun Bd Fd EIM 13.27 12.40 -6.6          6.4     :KDW LV WKLV ODZVXLW DERXW" 7KH ODZVXLW DOOHJHV WKDW 'HIHQGDQWV                                 WR UHGXFH H[SHQVHV
                                                                                 Mexico Fund MXF               26.18 26.11 -0.3 -17.0
     General Equity Funds                                                        Morgan-Stanley Asia-Pac APF 17.76 15.97 -10.1 -3.6
                                                                                                                                          Eaton Vance Mun Income EVN 11.76 12.30 +4.6         7.6     DQG &R&RQVSLUDWRUV HQJDJHG LQ DQ XQODZIXO FRQVSLUDF\ WR ¿[ UDLVH                             :KDW DUH P\ ULJKWV" ,I \RX ZLVK WR UHPDLQ D PHPEHU RI WKH 6HWWOHPHQW
       Adams Express ADX             15.20 13.02 -14.3 18.0                      MS China a Shr Fd CAF 23.27 21.47 -7.7 -5.4
                                                                                                                                          EV National Municipal Opp EOT 21.82 19.93 -8.7      5.1     PDLQWDLQ RU VWDELOL]H WKH SULFHV RI &57V 3ODLQWLIIV IXUWKHU FODLP WKDW                         &ODVV \RX GR QRW QHHG WR WDNH DQ\ DFWLRQ DW WKLV WLPH ,I \RX GR QRW ZDQW
       Boulder Total Return Fund BTF 30.94 24.77 -19.9 18.3                      MS India Invest IIF           22.46 19.71 -12.2 12.2
                                                                                                                                          Invesco Adv Mun Incm II VKI 12.21 11.16 -8.6        7.0     GLUHFW SXUFKDVHUV RI WHOHYLVLRQV DQG PRQLWRUV WKDW FRQWDLQ D FDWKRGH UD\                        WR EH OHJDOO\ ERXQG E\ RQH RU ERWK RI WKH 6HWWOHPHQWV \RX PXVW H[FOXGH
       Central Securities CET 26.55 22.30 -16.0 29.2                             New Germany GF                20.84 18.74 -10.1 32.8
                                                                                                                                          Invesco Mun Incm Opps Tr OIA 7.19 6.86 -4.6         6.3     WXEH IURP WKH 'HIHQGDQWV PD\ UHFRYHU IRU WKH HIIHFW WKDW WKH FDWKRGH UD\                        \RXUVHOI LQ ZULWLQJ E\ -XQH   RU \RX ZLOO QRW EH DEOH WR VXH
       CohSteer Opprtnty Fd FOF 14.64 13.10 -10.5 6.0                                                                                     Invesco Mun Opportunity VMO 13.56 12.38 -8.7        6.7     WXEH FRQVSLUDF\ KDG RQ WKH SULFHV RI WHOHYLVLRQV DQG PRQLWRUV 3ODLQWLIIV
                                                                                 Nuveen Gl Equity Incm Fd JGV 15.37 13.38 -13.0 5.1                                                                                                                                                                   RU FRQWLQXH WR VXH WKH 6HWWOLQJ 'HIHQGDQWV DERXW WKH OHJDO FODLPV LQ
       EtnVnc TaxAdvDiv EVT 21.89 19.66 -10.2 10.6                                                                                        Invesco Municipal Trust VKQ 13.53 12.31 -9.0        6.8     DOOHJH WKDW DV UHVXOW RI WKH XQODZIXO FRQVSLUDF\ WKH\ DQG RWKHU GLUHFW
                                                                                 Swiss Helvetia Fund SWZ 16.19 14.28 -11.8 24.5                                                                                                                                                                       WKLV FDVH
       GabelliDivInco GDV            24.27 22.10 -8.9 21.5                       Templeton Dragon TDF 27.62 24.39 -11.7 -5.5              Invesco Qlty Mun Inco IQI 13.25 12.00 -9.4          6.8     SXUFKDVHUV SDLG PRUH IRU &57 3URGXFWV WKDQ WKH\ ZRXOG KDYH DEVHQW
       Gabelli Equity GAB             7.01 7.34 +4.7 24.7                        Templeton Emerging EMF 19.04 17.36 -8.8 -6.1             Invesco Inv Grade Muni VGM 14.13 12.95 -8.4         7.0     WKH FRQVSLUDF\ 'HIHQGDQWV GHQ\ 3ODLQWLIIV¶ FODLPV                                             ,I \RX ZLVK WR FRPPHQW RQ RU GLVDJUHH ZLWK DQ\ DVSHFW RI WKH SURSRVHG
       Genl American Investors GAM 41.23 35.33 -14.3 19.3                        Thai Fund Inc TTF             12.84 11.25 -12.4 -12.0    Invesco Value Mun Incm Tr IIM 15.79 15.10 -4.4      6.2                                                                                                     6HWWOHPHQWV \RX PXVW GR VR LQ ZULWLQJ QR ODWHU WKDQ -XQH   7KH
                                                                                                                                                                                                      :KR¶V LQFOXGHG LQ WKH VHWWOHPHQWV" 7KH 6HWWOHPHQWV LQFOXGHV
       HnckJohn TxAdv HTD 22.97 20.48 -10.8 5.6                                  Wells Fargo Gl Div Opp EOD 8.78 8.02 -8.7 14.1           MainStay DefinedTerm MMD 18.24 17.29 -5.2           6.7                                                                                                     6HWWOHPHQW $JUHHPHQWV DORQJ ZLWK GHWDLOV RQ KRZ WR REMHFW WR WKHP DUH
                                                                                                                                                                                                      DOO SHUVRQV DQG HQWLWLHV ZKR EHWZHHQ 0DUFK   DQG
       Liberty All Star USA           6.57 5.88 -10.5 21.4                                                                                MFS Munl Inco MFM              7.02 6.60 -6.0       6.7                                                                                                     DYDLODEOH DW ZZZ&57'LUHFW3XUFKDVHU$QWLWUXVW6HWWOHPHQWFRP 7KH
                                                                                                                           Prem 12 Mo
                                                                                                                                          NuvAMTFreeMuniIncm NEA 14.46 13.28 -8.2             6.3     1RYHPEHU   GLUHFWO\ SXUFKDVHG D &57 3URGXFW LQ WKH 8QLWHG
       Royce Micro-Cap RMT 13.54 11.97 -11.6 31.2                              Fund (SYM)                      NAV Close /Disc Yld                                                                                                                                                                    86 'LVWULFW &RXUW IRU WKH 1RUWKHUQ 'LVWULFW RI &DOLIRUQLD ZLOO KROG D
                                                                                                                                          NuvDivAdvMuniIncm NVG 15.49 13.75 -11.2             5.0     6WDWHV IURP DQ\ GHIHQGDQW RU VXEVLGLDU\ RU DI¿OLDWH WKHUHRI ³6HWWOHPHQW
       Royce Value Trust RVT 17.45 15.51 -11.1 12.6                                                                                                                                                                                                                                                   )DLUQHVV +HDULQJ DW  DP RQ $XJXVW   DW WKH 86 'LVWULFW
                                                                               U.S. Mortgage Bond Funds
                                                                                                                                          Nuveen Div Fnd NAD 15.08 13.68 -9.3                 6.5     &ODVV´ 
       Source Capital SOR            75.69 67.37 -11.0 18.5                      Blackrock Income Trust BKT 7.26 6.56 -9.6 6.9                                                                                                                                                                        &RXUW IRU WKH 1RUWKHUQ 'LVWULFW RI &DOLIRUQLD  *ROGHQ *DWH $YH
       Tri-Continental TY            23.45 20.13 -14.2 16.9                                                                               Nuveen Div Fnd 2 NXZ 15.24 13.78 -9.6               6.0     :KR DUH WKH 6HWWOLQJ 'HIHQGDQWV" 6HWWOHPHQWV KDYH EHHQ UHDFKHG                                  6DQ )UDQFLVFR &$  &RXUWURRP  WK )ORRU 7KH KHDULQJ PD\
                                                                                 Brookfield TR Fund HTR 26.64 24.39 -8.4 9.1
       Zweig Fund Inc ZF             16.70 15.13 -9.4 27.3                                                                                Nuveen Div Adv NZF            15.07 13.34 -11.5     5.4     ZLWK  6DPVXQJ 6', &R /WG IND 6DPVXQJ 'LVSOD\ 'HYLFHV                                       EH PRYHG WR D GLIIHUHQW GDWH RU WLPH ZLWKRXW DGGLWLRQDO QRWLFH VR LW LV D
                                                                                 Nuveen Mtg Oppy Term Fd JLS 26.36 23.94 -9.2 7.4
     Specialized Equity Funds                                                                                                             Nuveen Enhncd Mun Val Fd NEV 14.96 14.20 -5.1       6.9     &R /WG  6DPVXQJ 6', $PHULFD ,QF 6DPVXQJ 6', %UDVLO /WG                                JRRG LGHD WR FKHFN WKH FODVV ZHEVLWH IRU LQIRUPDWLRQ
                                                                               Investment Grade Bond Funds
       AllnzGI NFJ Div Interest NFJ 18.48 18.21 -1.5 20.5                                                                                 Nuveen Invest Qual Muni NQM 15.51 14.55 -6.2        6.8     7LDQMLQ 6DPVXQJ 6', &R /WG 6DPVXQJ 6KHQ]KHQ 6', &R /WG
                                                                                 AllianceBrnstn IncoFd ACG 8.34 7.39 -11.4 6.0                                                                                                                                                                        7KH &RXUW KDV DSSRLQWHG WKH ODZ ¿UP RI 6DYHUL            6DYHUL ,QF WR
       AlpnGlblPrProp AWP             7.93 7.09 -10.6 -10.2                                                                               Nuveen Muni Advantage Fd NMA 14.76 13.28 -10.0      6.1     6', 0DOD\VLD 6GQ %KG DQG 6', 0H[LFR 6$ GH &9 FROOHFWLYHO\
                                                                                 Blackrock Core Bond Tr BHK 14.86 13.56 -8.7 6.6                                                                                                                                                                      UHSUHVHQW 'LUHFW 3XUFKDVHU &ODVV PHPEHUV DV ,QWHULP /HDG &ODVV
       ASA Gold & Prec Metals ASA 14.83 13.99 -5.7 -7.3                          BlkRk Credit Alloc Incm BTZ 15.42 13.67 -11.3 7.0
                                                                                                                                          NuveenMuniIncoOpp Fd NMZ 13.13 12.99 -1.1           6.9     ³6DPVXQJ 6',´ DQG  +LWDFKL /WG +LWDFKL 'LVSOD\V /WG QND
       BlkRk Enh Cap Inco CII 15.39 14.14 -8.1 19.2                                                                                       Nuveen Muni Mkt Opp NMO 14.50 13.18 -9.1            6.1     -DSDQ 'LVSOD\ ,QF  +LWDFKL $PHULFD /WG +LWDFKL $VLD /WG DQG                             &RXQVHO $W WKH )DLUQHVV +HDULQJ WKH &RXUW ZLOO FRQVLGHU ZKHWKHU WKH
                                                                                 BlkRk IncoTr BNA              11.61 10.65 -8.3 6.8
       BlkRk Engy Res Tr BGR 27.98 24.96 -10.8 16.2                                                                                       Nuveen Mun Opportunity Fd NIO 15.18 14.00 -7.8      6.1     +LWDFKL (OHFWURQLF 'HYLFHV 86$ ,QF FROOHFWLYHO\ ³+LWDFKL´  7KH                               6HWWOHPHQWV DUH IDLU UHDVRQDEOH DQG DGHTXDWH ,I WKHUH DUH REMHFWLRQV RU
                                                                                 John Hancock Income Secs JHS 15.63 14.56 -6.8 6.8
       BlackRock Enh Eq Div Tr BDJ 9.08 8.01 -11.8 11.7                                                                                   Nuveen Muni Value Fund NUV 9.94 9.66 -2.8           4.6     FRPSDQLHV DUH WRJHWKHU UHIHUUHG WR DV WKH ³6HWWOLQJ 'HIHQGDQWV´  $                            FRPPHQWV WKH &RXUW ZLOO FRQVLGHU WKHP DW WKDW WLPH <RX PD\ DSSHDU
                                                                                 MFS Inc Tr MIN                 5.61 5.30 -5.5 9.5
       Blackrock Global Trust BOE 16.30 14.60 -10.4 13.9                         WstAstClymr InfLnkd Fd WIW 13.62 12.00 -11.9 3.4
                                                                                                                                          Nuveen Performance Plus NPP 15.69 14.60 -6.9        6.3     FRPSOHWH OLVW RI 'HIHQGDQWV LV VHW RXW LQ WKH /RQJ )RUP RI 1RWLFH                               DW WKH KHDULQJ EXW GRQ¶W KDYH WR :H GR QRW NQRZ KRZ ORQJ WKHVH
       BlkRk Intl Grwth&Inco BGY 8.77 7.98 -9.0 13.9                                                                                      Nuveen Premium Inco Muni NPI 14.71 13.38 -9.0       6.5     DYDLODEOH DW ZZZ&57'LUHFW3XUFKDVHU$QWLWUXVW6HWWOHPHQWFRP                                     GHFLVLRQV ZLOO WDNH 3OHDVH GR QRW FRQWDFW WKH &RXUW DERXW WKLV FDVH
                                                                                 WstAssetClymr InflLnk Sec WIA 13.52 12.00 -11.2 3.3
       BlkRk Real Asset Eqty Tr BCF 10.28 9.05 -12.0 2.6                                                                                  Nuveen Prem Inco Muni 2 NPM 15.09 13.69 -9.3        6.4
                                                                               Loan Participation Funds                                                                                               :KDW GR WKH 6HWWOHPHQWV SURYLGH" 7KH 6DPVXQJ 6', 6HWWOHPHQW                                     7KLVLVD6XPPDU\1RWLFH )RUPRUHGHWDLOVFDOOWROOIUHH
       BlackRck Rscs Comm Str Tr BCX 13.80 11.96 -13.3 5.0                                                                                Nuveen Prem Inco Muni 4 NPT 13.70 12.76 -6.9        6.5
                                                                                 Apollo Sr Fltg Rate Fd AFT 19.06 18.07 -5.2 6.7
                                                                                                                                          Nuveen Premier Muni Inc NPF 14.81 13.45 -9.2        6.4     SURYLGHV IRU WKH SD\PHQW RI  LQ FDVK WR WKH 6HWWOHPHQW                               YLVLW ZZZ&57'LUHFW3XUFKDVHU$QWLWUXVW6HWWOHPHQWFRP RU ZULWH WR
       BlackRock Utility & Infr BUI 22.00 19.22 -12.6 5.7                        BlkRk Fltg Rate Inc Strat FRA 15.41 14.56 -5.5 6.3                                                                   &ODVV 7KH +LWDFKL 6HWWOHPHQW SURYLGHV IRU WKH SD\PHQW RI                            &57 'LUHFW 6HWWOHPHQW 32 %R[  3HWDOXPD &$ 
       CBREClarionGlblRlEstIncm IGR 9.63 8.49 -11.8 -6.6                                                                                  Nuveen Quality Income NQU 14.99 13.68 -8.7          5.9
                                                                                 Blkrk FltRt InTr BGT          14.80 14.04 -5.1 6.1
       Central Fund Of Canada CEF 14.72 13.97 -5.1 -18.3                                                                                  Nuveen Quality Muni Fund NQI 14.53 13.02 -10.4      6.1
                                                                                 Blackstone GSO Sr Float BSL 19.05 18.32 -3.8 6.9
       Central GoldTrust GTU 48.16 45.67 -5.2 -15.5                                                                                       Nuveen Select Quality NQS 15.08 13.54 -10.2         5.9
                                                                                 EtnVncFltRte IncoTr EFT 16.02 15.23 -4.9 6.2                                                                                                        BANKRUPTCIES
       ClearBridge Engy MLP Fd CEM 27.85 27.35 -1.8 6.0                                                                                   PIMCO MuniFd PMF NA.00 13.68 NA                     7.2
                                                                                 EatonVnc SrFltRate EFR 15.63 15.02 -3.9 6.8
       Clearbridge Engy MLP Opp EMO 25.02 23.24 -7.1 4.0                                                                                  Pimco Muni Inc II PML NA.00 11.92 NA                6.7
                                                                                 Eaton Vance Sr EVF             7.30 6.90 -5.5 6.5
       Clearbridge Engy MLP TR CTR 23.77 22.25 -6.4 2.4                                                                                   PIMCO Muni Inc III PMX NA.00 10.75 NA               7.5
                                                                                 1st Tr Sr Fltg Rt Fd II FCT 14.85 13.93 -6.2 6.7
       ChnStrGbInc INB               12.50 12.36 -1.1 20.6                                                                                PionrMuniAdv Tr MAV 12.24 14.88 +21.6               7.8
                                                                                 ING Prime Rate Trust PPR 6.03 5.78 -4.1 6.9                                                                        '!& %&&% !$'#&* "'$&
       Cohen & Steers Infra UTF 25.66 22.43 -12.6 13.4                                                                                    Pionr Muni HI Tr MHI 13.30 14.89 +12.0              7.6   %"'&$! %&$& " !( *"$
                                                                                 Invesco Credit Opps Fund VTA 13.91 13.02 -6.4 6.9
       Cohen & Steers Qual Inc RQI 11.88 10.69 -10.0 -5.6                                                                                 Putnam Tr PMM                  7.64 7.15 -6.4       6.7
                                                                                 Invesco Senior Income Tr VVR 5.26 5.01 -4.8 7.1                                                                    ? C6                                     
                                                                                                                                          Putnam Muni Opportunities PMO 12.73 11.58 -9.0      5.5




                                                                                                                                                                                                                                                                                                            LEGAL
       CohnStrsPfdInco RNP 19.86 17.21 -13.3 -4.1                                Nuveen Credit Strt Inc Fd JQC 10.24 9.44 -7.8 7.4                                                                                                             92AE6C
       Duff & Phelps DNP              9.70 9.95 +2.6 2.6                                                                                  Wstrn Asset Mngd Muni MMU 13.45 12.99 -3.4          6.1   )'%$%- $%'&%') 6E 2=                2D6 $@   "
                                                                                 NuvFloatRteInco Fd JFR 12.62 11.83 -6.3 6.7
       Dow30PremInc DPO              13.71 13.30 -3.0 20.3                                                                                Western Asset Mun Tr Fund MTT 22.32 22.18 -0.6      4.5                                              @:?E=J 5>:?:DE6C65
                                                                                 Nuv Float Rte Opp Fd JRO 12.70 12.21 -3.9 6.9                                                                                '6@C82?:K65 63E@CD             
       Duff&PhelpsGblUtilIncFd DPG 23.03 20.11 -12.7 8.8                                                                                 Single State Muni Bond
                                                                                 Pionr Float Rte Tr PHD 12.94 12.42 -4.0 7.3                                                                                                                  
       Eaton Vance Eqty Inco Fd EOI 14.17 13.03 -8.0 20.6                                                                                 BlackRock CA Municipal Tr BFZ 15.70 14.98 -4.6
                                                                                                                                                                                      6.3
                                                                               High Yield Bond Funds                                                                                                                           !"& " *            !
       Eaton Vance Eqty Inco II EOS 13.73 13.05 -5.0 25.0                                                                                 BlkRk MuniHldgs CA Qlty MUC 15.72 14.42 -8.36.2
                                                                                 AllianceBernstein Glbl AWF 15.20 14.83 -2.4 8.7                                                                        "$ ! "&"!% &" &$"!")$$  %&& !& $ !&




                                                                                                                                                                                                                                                                                                            NOTICES
       EtnVncRskMngd ETJ 12.30 11.23 -8.7 11.4                                                                                            Blkrck MunHl NJ Qlty MUJ 15.53 14.15 -8.9   6.4
                                                                                 BlackRock Corp Hi Yd Fd HYT 13.37 12.20 -8.8 8.7                                                                   #% & !"& E92E @? AC:=              E96 ?252C<@ ":E:82E:@? )CFDE E96
       Etn Vnc Tax Mgd Buy-Write ETB 16.03 15.66 -2.3 14.6                                                                                BlRk MuHldg NY Qlty MHN 14.53 13.72 -5.6    6.7           L":E:82E:@? )CFDEN 2D DF446DD@C E@ 63E@CD )C@?@I ?4@CA@C2E65 )C@?@I ,@C=5H:56 ""
                                                                                 BlkRk Debt Strat Fd DSU 4.42 4.08 -7.7 8.1
       Eaton Vance BuyWrite Opp ETV 14.49 14.41 -0.6 21.4                                                                                 BlkRk MuniYld CA Fd MYC 16.25 15.14 -6.8    6.4           2?5 )C@?@I "" :? E96 23@G642AE:@?65 25G6CD2CJ AC@4665:?8 2?5 ?252C<@ &6EC@=6F>
                                                                                 BlackRockDurInco Tr BLW 18.14 17.31 -4.6 7.3                                                                       @CA@C2E:@? !6CC#466 @CA@C2E:@? !6CC#466 %:=  2D @CA@C2E:@? ? < 2
       Eaton Vance Tax-Mng Div ETY 12.01 11.21 -6.7 20.0                                                                                  BlkRk MuniYld CA Quality MCA 16.05 14.91 -7.1
                                                                                                                                                                                      6.3
                                                                                 Credit Suisse High Yld DHY 3.16 3.20 +1.3 9.6                                                                      ?252C<@ *( %77D9@C6 @CA@C2E:@? !6CC#466 ,@C=5H:56 @CA@C2E:@? !# ?G6DE>6?E
       Eaton Vance Tax-Mngd Opp ETW 12.97 12.27 -5.4 20.4                                                                                 BlkRk MuniYld MI Qlty MIY 14.99 13.59 -9.3  6.8           @CA@C2E:@? :>AC@A6C=J ?2>65 2D !6CC#466 ?G6DE>6?E @CA@C2E:@? !6CC#466
                                                                                 Dreyfus Hi Yld Fd DHF 4.09 4.28 +4.6 9.4
       EtnVncTxMngGlDvEqInc EXG 10.80 10.07 -6.8 17.3                                                                                     BlRk Muyld NY Qlty MYN 13.95 13.22 -5.2     6.4           C65:E "" !6CC#466 (92C65 (6CG:46D @>A2?J "" 2?5 !6CC#466 (E@C65 &@H6C
                                                                                 DWS Hi Incm Opps Fd DHG 16.63 14.62 -12.1 7.4
                                                                                                                                          Eaton Vance CA Mun Bd EVM 12.43 11.14 -10.4 6.0           @>A2?J "" 4@==64E:G6=J L?252C<@N M=65 2 >@E:@? H:E9 E96 * ( 2?<CFAE4J @FCE
       Fiduciary/Clymr Opp Fd FMO 25.96 26.77 +3.1 10.4                          Fst Tr Hi Inc Lg/Shrt Fd FSD 19.92 17.94 -9.9 7.6                                                                  7@C E96 (@FE96C? :DEC:4E @7 $6H .@C< E96 L2?<CFAE4J @FCEN D66<:?8 2 C6A@CE 2?5
       First Opportunity Fund FOFI 11.90 9.33 -21.6 17.7                                                                                  Invesco CA Value Mun Incm VCV 13.15 12.19 -7.3
                                                                                                                                                                                      6.7
                                                                                 Neuberger Berman HYS NHS 14.92 13.65 -8.5 7.9                                                                      C64@>>6?52E:@?  </-977/8.381 +::<9@+6 90 >2/ %/>>6/7/8> 1<//7/8> ,/>A//8
       FT Energy Inc & Growth Fd FEN 34.89 32.89 -5.7 -1.4                                                                                Invesco PA Value Mun Incm VPV 14.09 13.36 -5.2
                                                                                                                                                                                      6.7           +8. +7981 >2/ 8+.+<59 3>31+>398 &<?=> >2/ '83>/. %>+>/= 90 7/<3-+ +8. 8+.+<59
                                                                                 NexPoint Credit Strat Fd NHF 12.39 11.27 -9.0 5.3
       FstTrEnhEqtIncFd FFA 15.19 13.72 -9.7 13.5                                                                                         Invesco Inv Grade NY Muni VTN 14.58 14.36 -1.5
                                                                                                                                                                                      6.9           </=96@381 >2/ +,9@/-+:>398/. +.@/<=+<C :<9-//.381 +8.  </-977/8.381 3==?+8-/ 90
                                                                                 Pioneer High Income Trust PHT 14.12 18.12 +28.3 9.2                                                                +8 384?8->398 /84938381 -/<>+38 :/<=98= 0<97 +==/<>381 +1+38=> +8C 8+.+<59 $/6/+=/.
       First Tr Engy Infr Fd FIF 24.34 21.85 -10.2 1.1                                                                                    Nuveen California AMT NKX 14.78 13.57 -8.2  6.3
                                                                                 Prudentl Sh Dur Hi Yd Fd ISD 18.86 17.80 -5.6 8.8                                                                  #+<>C 3 +8C &<?=> /<3@+>3@/ 6+37= 9< 33 +8C -6+37= A23-2 +</ .?:63-+>3@/ 90 &<?=>
       GAMCOGlblGoldNatRscs&Inc GGN 10.37 10.20 -1.6 1.8                                                                                  Nuveen CA Div Fnd NAC 15.02 14.30 -4.8      6.4           /<3@+>3@/ 6+37= +66 -+:3>+63D/. >/<7= 89> 9>2/<A3=/ ./G8/. 2/</38 =2+66 2+@/ >2/
                                                                                 Wells Fargo Adv Fund EAD 10.02 9.52 -5.0 9.1
       GAMCO Nat Rsc Gold & Incm GNT 11.31 10.54 -6.8 -4.6                                                                                NuveenCA 3 NZH                13.78 12.59 -8.6
                                                                                                                                                                                      6.5           7/+8381 += ./G8/. 38 >2/ %/>>6/7/8> 1<//7/8>
                                                                                 Wstrn Asset Glbl Hi Inco EHI 13.43 12.71 -5.4 9.3
       H&Q Healthcare HQH 26.44 25.78 -2.5 26.2                                                                                           Nuveen CA Muni Value NCA 10.16 9.98 -1.8    4.8
                                                                                 Wstrn Asset High Inco II HIX 9.45 9.38 -0.7 9.5                                                                            #'$%'!& &" & "&"!  (& & "'$&
       ING Dividend Fund IGD 10.13 9.40 -7.2 11.9                                                                                         Nuveen CA Quality Income NUC 16.01 15.40 -3.8
                                                                                                                                                                                      6.8                      G;8 7847?<A8 GB 9<?8 B5=86G<BAF GB G;8 GEBABK F8GG?8@8AG
                                                                                 Wstrn Asset Opp Fd HIO 6.51 6.02 -7.5 7.5
       ING Risk Mngd Nat Res IRR 11.92 10.75 -9.8 13.8                                                                                    Nuveen California Select NVC 15.73 14.92 -5.1
                                                                                                                                                                                      6.9                       $ !& % *        &  #  %&$!
                                                                                 West Asst HY Def Opp Fd HYI 19.57 18.03 -7.9 8.6
                                                                                                                                          NuveenMDPremium IncomeNMY 14.43 12.64 -12.4 5.4                      4 ;84E<A: BA G;8 @BG<BA 4A7 4AL B5=86G<BAF G<@8?L 9<?87
       John Hancock Finl Opps Fd BTO 24.04 22.93 -4.6 16.9                       Wstrn Asset Mngd High Inc MHY 6.30 5.81 -7.8 7.7                                                                               % ! %' "$ *          &    %&$! &
       Kayne Anderson Enrgy Dev KED NA.00 33.07 NA 34.4                                                                                   Nuveen NJ Investment Qual NQJ 15.09 13.59 -9.9
                                                                                                                                                                                      6.0
                                                                               Other Domestic Taxable Bond Funds                                                                                                & '% !$'#&* "'$& "$ & %"'&$! %&$& " !(
       Kayne Energy TR Fd KYE 30.49 28.02 -8.1 1.3                                                                                        Nuveen Pa Investment Qual NQP 15.15 13.76 -9.2
                                                                                                                                                                                      5.9                       *"$ % $%% "(
                                                                                 Babson Cap Corp Inv MCI NA.00 15.06 NA 7.9
       Kayne Andrsn MLP Inv KYN 35.81 36.64 +2.3 12.2                                                                                     Nuveen VA Premium Income NPV 14.16 12.92 -8.8
                                                                                                                                                                                      5.6
                                                                                 BlackRock Build Am Bd Tr BBN 22.34 20.35 -8.9 7.8                                                                  <3/0 $/-3>+>398 90 +->=
       Kayne Andrsn Midstr Engy KMF 38.90 35.12 -9.7 6.5                                                                                  Pimco Calif Fund PCQ NA.00 14.26 NA         6.6
                                                                                 Doubleline Oppor Credit DBL NA.00 23.15 NA 8.6                                                                     %? 2?F2CJ             )C@?@I ?4@CA@C2E65 2?5 46CE2:? @7 :ED 27M=:2E6D 4@==64E:G6=J E96


                                                                                                                                                                                                                                                                                                            ADVERTISE
       Macquarie Glbl Infrstrctr MGU 27.07 24.16 -10.7 17.6                                                                               PimcoCA PCK                   NA.00 9.37 NA 7.6           L63E@CDN 4@>>6?465 492AE6C           42D6D E96 L92AE6C      2D6DN :? E96 2?<CFAE4J
                                                                                 Duff & Phelps Utl & Cp Bd DUC 10.99 10.44 -5.0 10.8
       NASDAQPremInc&GrowthQQQX 17.96 NA.00 NA NA                                EtnVncLtdFd EVV               16.52 15.40 -6.8 8.0                                                  NAV            @FCE %? $@G6>36C               E96 2?<CFAE4J @FCE 4@?MC>65 E96 63E@CD &=2? %?
       Neubrgr Brm Rl Est Sec Fd NRO 5.67 4.80 -15.3 -4.9                                                                                                                      Prem   Ttl           63CF2CJ            E96 &=2? 3642>6 67764E:G6 ? E96 92AE6C            2D6D E96 *?:E65
                                                                                 Franklin Templeton FTF NA.00 13.30 NA 6.7               Fund (SYM)                  NAV Close /Disc Ret            (E2E6D @E96C 8@G6C?>6?E2= 6?E:E:6D 2?5 @E96C &6CD@?D M=65 &C@@7D @7 =2:> 282:?DE E96
       Nuveen Engy MLP Fd JMF 20.96 19.75 -5.8 2.9                               Guggenh Bond Mneg Dur Tr GBAB 22.49 21.00 -6.6 7.9                                                                 63E@CD @? 244@F?E @7 2>@?8 @E96C E9:?8D 2==6865 6?G:C@?>6?E2= 4=2:>D @3=:82E:@?D


                                                                                                                                                                                                                                                                                                            TODAY
       Nuveen Eqty Prm Adv Fd JLA 13.94 12.92 -7.3 11.3                          MFS Charter MCR               10.31 9.27 -10.1 6.5      General Equity Funds                                       2?5 @C =:23:=:E:6D 2E 46CE2:? @7 E96 @G6C65 (:E6D +2C:@FD E@CE 4=2:>2?ED M=65 &C@@7D @7
       Nuveen Eqty Prem Inco Fd JPZ 13.75 12.77 -7.1 8.1                         MFS Multimkt MMT               7.43 6.62 -10.9 6.7        Franklin Mutual Rec:A 12.44 NA.00 NA              20.7   =2:> 282:?DE E96 63E@CD @? 244@F?E @7 2==6865 E@CE =:23:=:E:6D :?4=F5:?8 7@C A6CD@?2=
                                                                                                                                                                                                    :?;FCJ 2?5 AC@A6CEJ 52>286 )9@D6 4=2:>D H6C6 @C H:== 36 C6D@=G65 AFCDF2?E E@ E96 &=2?
       Nuv Eqty Prm Opp Fd JSN 13.51 12.61 -6.7 8.4                              Nuveen Build Am Bd Fd NBB 21.71 19.89 -8.4 7.1            Recov Adv                12.53 NA.00 NA           21.0   C6=2E65 E@CE 2?5 6?G:C@?>6?E2= 28C66>6?ED E96 ":E:82E:@? )CFDE 8C66>6?E L")N
       Nuveen Real Estate Fd JRS 10.97 10.73 -2.2 -7.3                           PIMCO Corporate & Incm PTY 15.41 18.32 +18.9 8.2          RecoveryC                12.27 NA.00 NA           19.8   2?5 @E96C AC:@C AC@4665:?8D @7 E96 2?<CFAE4J @FCE
       Petroleum & Resources PEO 34.01 28.91 -15.0 22.0                          PIMCO Corporate & Incm PCN 15.47 16.53 +6.9 7.9         Specialized Equity Funds                                   )96C6 2C6 EH@ 4@>A=2:?ED 282:?DE ?252C<@ 4FCC6?E=J 36:?8 ;@:?E=J =:E:82E65 :? )C@?@I
                                                                                                                                           Resource RE Div Inc       9.72 NA.00 NA            0.4   ?4  6E 2= G !6CC#466 @CA@C2E:@? 6E 2= ? C6 )C@?@I ?4  5G &C@4 $@  
       Reaves Utility Fund UTG NA.00 28.72 NA 10.3                               PIMCO HiInco PHK               8.33 12.72 +52.7 11.6                                                               2?<C (  $ . 
       Tortoise Engy Cap TYY NA.00 34.27 NA 9.0                                  PIMCO Inco Str Fd PFL 12.06 11.97 -0.7 9.2                SharesPost 100           20.56 NA.00 NA            NS            E96 (64@?5 >6?565 5G6CD2CJ @>A=2:?E 0H9:49 :D M=65 2E 2D6 $@  
       Tortoise Engy Ind Fd NDP NA.00 25.87 NA 13.9                              Pimco Inco Strat Fd II PFN 10.78 10.57 -1.9 9.2           Tot Inc+ RE:C            NA.00 NA.00 NA            NS            " <E $@ 1 2?5
       Tortoise Energy TYG NA.00 47.38 NA 10.5                                                                                             Tot Inc+ RE:I            NA.00 NA.00 NA            NS            E96 @>A=2:?E:??E6CG6?E:@? M=65 3J E96 *?:E65 (E2E6D 0H9:49 :D M=65 2E 2D6
                                                                                 Putnam Mas Inco PIM 5.68 5.13 -9.7 6.0                                                                                     $@   " <E $@  1
       Tortoise MLP Fund NTG NA.00 27.10 NA 0.5                                  Putnam Premier PPT             6.16 5.57 -9.6 5.6         Versus Cap MMgr RE Inc 25.34 NA.00 NA              3.1
                                                                                                                                                                                                    )96 &=2? ") 2?5 ?G:C@?>6?E2= (6EE=6>6?E 8C66>6?E 2DD:8?65 2D AC@G:565 :? E96
     Income Preferred Stock Funds                                                Wells Fargo Multi Sctr ERC 16.38 14.69 -10.3 8.2          Versus Cap MMgr RE Inc:I 25.37 NA.00 NA            3.9   @?MC>2E:@? %C56C 2?5 E96 ") 2== @7 E96 63E@CD C6DA64E:G6 C:89ED 2?5 :?E6C6DED :?
       Calamos Strat Fd CSQ 12.21 11.23 -8.0 14.9                              World Income Funds                                        Income Preferred Stock Funds                               E96 5G6CD2CJ &C@4665:?8 6I4=F5:?8 E96 @>A=2:?E:??E6CG6?E:@? H9:49 :?4=F56D 2?J
                                                                                                                                           MultiStrat Gro & Inc     16.80 NA.00 NA            9.1   4=2:>D @C 42FD6D @7 24E:@? @7 E96 63E@CD C6=2E65 E@ E96 5G6CD2CJ &C@4665:?8 H96E96C
       Cohen & Steers Dur Pfd LDP 26.58 24.40 -8.2 0.0                           Abeerden Asia-Pacific FAX 6.74 6.23 -7.6 5.6                                                                       @C ?@E 2DD6CE65 :? E96 5G6CD2CJ &C@4665:?8 E@ E96 ":E:82E:@? )CFDE 7@C E96 36?6ME @7
                                                                                                                                         World Equity Funds
       Cohen & Strs Sel Prf Inco PSF 27.62 25.69 -7.0 1.6                        Etn Vnc Short Dur Fd EVG 16.66 15.28 -8.3 7.1                                                                      E96 6?E:E:6D =:DE65 :? (64E:@? 5 @7 E96 ") H9:49 :?4=F56 E96 )@CE =2:>D )CFDE E96
       Flaherty & Crumrine Pfd FFC 19.15 19.82 +3.5 1.1                                                                                    BMO Lloyd George FM 10.20 NA.00 NA                 NS    :>2CC@? ?G:C@?>6?E2= '6DA@?D6 )CFDE E96 #F=E:DE2E6 ?G:C@?>6?E2= '6DA@?D6 )CFDE
                                                                                 First Tr/Abrdn Glbl Opp FAM 15.38 14.19 -7.7 10.0
                                                                                                                                           EGA Frontier Dvsfd Core 28.60 NA.00 NA             NS    E96 $6G252 ?G:C@?>6?E2= '6DA@?D6 )CFDE E96 (2G2??29 ?G:C@?>6?E2= '6DA@?D6
       John Hancock Pfd Income HPI 21.11 20.11 -4.7 -7.9                         Global High Income Fd GHI 11.36 10.03 -11.7 8.4
                                                                                                                                         U.S. Mortgage Bond Funds                                   )CFDE 4@==64E:G6=J 2=@?8 H:E9 E96 ,6DE 9:428@ ?G:C@?>6?E2= '6DA@?D6 )CFDE E96
       John Hancock Pfd II HPF 21.07 20.25 -3.9 -5.8                             Legg Mason BW Glbl Incm BWG 20.14 17.62 -12.5 9.9                                                                  L?G:C@?>6?E2= 2?5 )@CE )CFDEDN 2?5 46CE2:? 8@G6C?>6?E2= 6?E:E:6D E92E 925 2DD6CE65
                                                                                                                                           Vertical Capital Income 11.05 NA.00 NA             4.7
       John Hancock Pfd Inc III HPS 18.57 17.66 -4.9 -3.8                        MS EmMktDomDebt EDD 14.57 13.15 -9.7 8.5                                                                           2?<CFAE4J ?G:C@?>6?E2= =2:>D 282:?DE E96 63E@CD 4@==64E:G6=J L":E:82E:@? )CFDE
                                                                                                                                         Loan Participation Funds                                   6?6M4:2C:6DN
       JHancock Pr Div PDT           14.80 13.20 -10.8 0.0                       MS Emerging Mkts Debt MSD NA.00 10.10 NA 5.9              ING Senior Income:A 13.41 NA.00 NA                 5.8   &FCDF2?E E@ E96 &=2? ") ?G:C@?>6?E2= (6EE=6>6?E 8C66>6?E 2?5 ?G:C@?>6?E2=
       LMP Cap & Inco Fd SCD 18.19 16.35 -10.1 7.2                               Nuveen Div Currency Opp JGT 12.34 10.71 -13.2 9.2         ING Senior Income:B 13.37 NA.00 NA                 5.3   2?5 )@CE )CFDE 8C66>6?ED @E96C E92? E96 ,6DE 9:428@ ?G:C@?>6?E2= '6DA@?D6 )CFDE
       Nuveen Preferred & Incm JPI 25.14 23.34 -7.2 1.7                          PIMCO Dynamic Income Fund PDI 32.50 32.05 -1.4 11.2       ING Senior Income:C      13.38 NA.00 NA            5.3   8C66>6?E E96 ":E:82E:@? )CFDE 6?6M4:2C:6D 2?5 36?6M4:2C:6D @7 E96 ?G:C@?>6?E2=
       Nuveen Preferred Inc Opp JPC 10.48 9.49 -9.4 -1.2                         PIMCO Income Opportunity PKO 28.37 28.73 +1.3 10.2                                                                 2?5 )@CE )CFDED E@86E96C H:E9 E96 ":E:82E:@? )CFDE 6?6M4:2C:6D E96 L6?6M4:2C:6DN
                                                                                                                                           ING Senior Income:I      13.38 NA.00 NA            6.1   2C6 6?E:E=65 E@ 92G6 A2:5 @? 244@F?E @7 E96:C 2?<CFAE4J ?G:C@?>6?E2= =2:>D 2?5
       Nuveen Quality pf JTP 9.13 8.30 -9.1 -1.8                                 PIMCO Strat Income Fund RCS 9.14 10.35 +13.2 10.9         ING Senior Income:W 13.42 NA.00 NA                 6.0   2?<CFAE4J )@CE =2:>D DA64:M65 2==@42E:@?D @7 2 D92C6 @7 E96 ?6E AC@4665D @7 2?J
       Nuveen Fd2 JPS                 9.75 8.86 -9.1 -1.0                        Stone Harbor Em Mkts Fd EDF 19.98 19.12 -4.3 11.7         Invesco Sr Loan A         6.99 NA.00 NA            5.7   C64@G6CJ 7C@> E96 5G6CD2CJ &C@4665:?8
       TCW Strategic Inco Fund TSI 5.92 5.45 -7.9 -2.3                           Templeton Emerging TEI 14.11 14.37 +1.8 8.8               Invesco Sr Loan B         7.01 NA.00 NA            5.7   %? 646>36C              E96 2?<CFAE4J @FCE :DDF65 :ED #6>@C2?5F> %A:?:@? 7E6C
       Zweig Total Return ZTR 15.39 14.02 -8.9 16.8                              Templeton Global GIM 8.43 7.88 -6.5 8.2                                                                            )C:2= M?5:?8 E96 ?252C<@ )C:2= 676?52?ED =:23=6 F?56C E96 (64@?5 >6?565 5G6CD2CJ
                                                                                                                                           Invesco Sr Loan C         7.00 NA.00 NA            4.9   @>A=2:?E 7@C 24EF2= 2?5 4@?DECF4E:G6 7C2F5F=6?E 4@?G6J2?46D 3FE ?@E =:23=6 7@C 3C6249
     Convertible Sec's. Funds                                                    Wstrn Asset Emerg Mkts ESD 19.51 17.76 -9.0 8.2           Invesco Sr Loan IB        7.00 NA.00 NA            5.9   @7 M5F4:2CJ 5FEJ )96 64:D:@? :D ?@E 2 M?2= ;F58>6?E 2?5 E96 2?<CFAE4J @FCE 5:5 ?@E
       AdvntClymrFd AVK              19.83 18.34 -7.5 11.6                       Wstrn Asset Emerg Mkt II EMD 13.85 12.64 -8.7 8.2         Invesco Sr Loan IC        7.00 NA.00 NA            5.8   6?E6C M?2= ;F58>6?E
       AllianzGI Conv & Incm NCV 9.38 10.29 +9.7 22.8                            Wstrn Asset Gl Def Opp Fd GDO 20.49 18.62 -9.1 7.6        Invesco Sr Loan Y         7.00 NA.00 NA            NS    %? AC:=        E96 &2CE:6D 6?E6C65 :?E@ E96 (6EE=6>6?E 8C66>6?E E92E C6D@=G6D E96
                                                                                                                                                                                                    5G6CD2CJ &C@4665:?8 2?5 AC@G:56D 7@C C6=62D6D 4@G6?2?ED ?@E E@ DF6 +8. >2/ 3==?+8-/
       AllianzGI Conv & Incm II NCZ 8.44 9.82 +16.4 27.3                       National Muni Bond Funds                                  Other Domestic Taxable Bond Funds                          90 +8 384?8->398 ,C + '% 3=><3-> 9?<> /84938381 -/<>+38 :/<=98= 0<97 +==/<>381 &<?=>
       AllianzGI Equity & Conv NIE 22.48 19.76 -12.1 16.3                        AllianceBrnstn NtlMun AFB 14.23 13.83 -2.8 6.5            BlkRkFxdIncValOp        660.30 NA.00 NA           56.1   /<3@+>3@/ 6+37= +8. +8C -6+37= >2+> +</ .?:63-+>3@/ 90 =?-2 &<?=> /<3@+>3@/ 6+37= +=
       Calamos Conv Hi Inco Fd CHY 14.19 13.87 -2.3 16.4                         Blackrock Invest BKN 15.34 14.81 -3.5 6.6                 Capstone Church Capital 17.84 NA.00 NA             2.4   ./G8/. 38 >2/ %/>>6/7/8> 1<//7/8>
       Calamos CHI                   13.40 13.73 +2.5 17.9                       BlackRockMuni 2020 BKK 16.21 16.44 +1.4 5.5               GL Beyond Income         NA.00 NA.00 NA            9.8   %? AC:=          E96 *?:E65 (E2E6D =@5865 E96 (6EE=6>6?E 8C66>6?E H:E9 E96


                                                                                                                                                                                                                                                                                                            (800) 366-3975
                                                                                                                                                                                                    2?<CFAE4J @FCE %? 2AAC@I:>2E6=J AC:=               E96 *?:E65 (E2E6D H:== AF3=:D9 2
                                                                                                                                                                                                    ?@E:46 7@C AF3=:4 4@>>6?E E96C6@? :? E96 656C2= '68:DE6C
                                                                                                                                                                                                    %? AC:=           E96 ":E:82E:@? )CFDE 2?5 ?252C<@ M=65 2 >@E:@? E96 L 
       Borrowing Benchmarks                                                                                                                                                                         '64@>>6?52E:@? #@E:@?N H:E9 E96 2?<CFAE4J @FCE D66<:?8 E96 '6A@CE 2?5
                                                                                                                                                                                                    '64@>>6?52E:@?
                                                                                                                                                                                                    )96 (6EE=6>6?E 8C66>6?E D6EE=6D 4@>AC@>:D6D C6D@=G6D 2?5 4=@D6D E96 5G6CD2CJ
                                                                                                                                                                                                    &C@4665:?8 2?5 D6EE=6D 4@>AC@>:D6D C6D@=G6D 2?5 6IE:?8F:D96D E96 )CFDE 6C:G2E:G6

     Money Rates                                                                                                                                                            April 25, 2014
                                                                                                                                                                                                    =2:>D 2?J 4=2:>D E92E H6C6 2DD6CE65 @C E92E 4@F=5 92G6 366? 2DD6CE65 :? E96 (64@?5
                                                                                                                                                                                                    >6?565 5G6CD2CJ @>A=2:?E 2?5 E96 4=2:>D 2DD6CE65 :? E96 @>A=2:?E:??E6CG6?E:@?
                                                                                                                                                                                                    2?5 E96 4=2:>D E92E 4@F=5 92G6 366? 2DD6CE65 :? E96 @>A=2:?E:??E6CG6?E:@? C6=2E:?8
                                                                                                                                                                                                                                                                                                            sales.legalnotices
                                                                                                                                                                                                                                                                                                            @wsj.com
                                                                                                                                                                                                    E@ E96 DF3;64E >2EE6C @7 E96 5G6CD2CJ &C@4665:?8 E@86E96C 2?5 @? 2 8=@32= 32D:D E@ E96
     Key annual interest rates paid to borrow or lend money in U.S. and international markets. Rates below are a guide                                                                              6IE6?E AC@G:565 :? E96 (6EE=6>6?E 8C66>6?E &FCDF2?E E@ E96 (6EE=6>6?E 8C66>6?E
     to general levels but don’t always represent actual transactions.                                                                                                                              H:E9:? EH@ FD:?6DD 2JD 27E6C E96 7764E:G6 2E6 ?252C<@ D92== 42FD6 E@ 36 A2:5 E@
                                                                                                                                                                                                    E96 ":E:82E:@? )CFDE   3:==:@? A=FD ?E6C6DE )96 ":E:82E:@? )CFDE D92== 42FD6 E96
                                                                                                            Week        —52-WEEK—                                     Week          —52-WEEK—       (6EE=6>6?E &C@4665D E@ 36 2==@42E65 2?5 5:DEC:3FE65 E@ E96 ":E:82E:@? )CFDE 6?6M4:2C:6D
     Inflation                                                                                       Latest ago         High   Low                             Latest ago           High   Low      4@?D:DE6?E H:E9 E96 ") )96 ":E:82E:@? )CFDE DF4466565 E@ 2D @7 2?5 27E6C E96 &=2?
                             March index            CHG FROM (%)               180 days               0.38    0.38     0.38     0.38     Five year             1.806    1.836      1.994    0.813   7764E:G6 2E6 2?J 2?5 2== 4=2:>D 282:?DE E96 ?252C<@ '6=62D65 &2CE:6D C6=2E65 E@ E96
                                  level             Feb. '14 March '13                                                                                                                              4=2:>D :DDF6D 2?5 DF3;64E >2EE6C @7 E96 5G6CD2CJ &C@4665:?8 H9:49 H6C6 96=5 @H?65
                                                                                                                                         Ten year              2.778    2.845      3.165    1.814

                                                                                                                                                                                                                                                                                                            Place an ad with the
                                                                                                                                                                                                    2?5 @C 4@?EC@==65 3J @?6 @C >@C6 63E@CD 367@C6 E96 &=2? 7764E:G6 2E6 (:?46 E96 &=2?
                                                                               Other short-term rates                                    20 year               3.333    3.414      3.801    2.586   7764E:G6 2E6 E96 ":E:82E:@? )CFDE 92D ?@E D@=5 2DD:8?65 EC2?D76CC65 6?4F>36C65
     U.S. consumer price index                                                                                                           30 year               3.437    3.519      3.939    2.767   9JA@E9642E65 232?5@?65 4@?G6J65 @C @E96CH:D6 5:DA@D65 @7 2?J 4=2:>D C646:G65 3J E96
     All items                    236.293              0.64           1.5                                                                                                                           ":E:82E:@? )CFDE 7C@> 63E@CD AFCDF2?E E@ E96 &=2?

                                                                                                                                                                                                                                                                                                            self-service tool at:
     Core                         236.913              0.35           1.7                                  Week          52-WEEK         Euro Libor                                                 #<9:9=/. #/<7+8/8> 84?8->398
                                                                                                    Latest ago         high    low                                                                  &2/ 79@+8>= 2+@/ </;?/=>/. >2+> >2/ 09669A381 :/<7+8/8> 384?8->398 ,/ 3==?/. ,C >2/
                                                                                                                                         One month             0.242    0.221      0.242    0.056   3=><3-> 9?<>
     International rates                                                       Call money                                                Three month           0.311    0.292      0.311    0.114   F#?<=?+8> >9  '% EE     E + 90 >2/ +85<?:>-C 9./ +8. +85<?:>-C
                                                                                                                                                                                                    $?6/=        +8.   3 +8C /,>9<= 33 +8C -</.3>9< 90 +8C /,>9< A29 G6/. 9<

                                                                                                                                                                                                                                                                                                            wsj.com/classifieds
                                                                                                      2.00    2.00     2.00     2.00     Six month             0.408    0.387      0.408    0.195
                                          Week             52-WEEK                                                                                                                                  -9?6. 2+@/ G6/. + -6+37 38 >2/ 2+:>/<         +=/= 333 +8C 9>2/< #/<=98 A29=/ -6+37
                                                                                                                                         One year              0.574    0.551      0.574    0.371    38 +8C A+C +<3=/= 0<97 9< 3= </6+>/. >9 >2/ .@/<=+<C #<9-//.381  3= + &<?=>
                            Latest       ago            High     Low
                                                                               Commercial paper                                                                                                     /<3@+>3@/ 6+37 9<  3= .?:63-+>3@/ 90 + &<?=> /<3@+>3@/ 6+37 +8. 3@ +8C #/<=98
                                                                                                                                         Euro interbank offered rate (Euribor)                      +->381 9< :?<:9<>381 >9 +-> += +8 +>>9<8/C 09< +8C 90 >2/ :</-/.381 3= 2/</,C :/<7+8/8>6C
     Prime rates                                                               30 to 37 days          0.05       ...      ...      ...
                                                                                                                                                                                                    /84938/. 0<97 +==/<>381 +1+38=> +8C 8+.+<59 $/6/+=/. #+<>C  +8C &<?=> /<3@+>3@/
                                                                               39 to 44 days          0.05       ...      ...      ...   One month             0.269    0.246      0.269    0.112
     U.S.                     3.25         3.25        3.25         3.25                                                                                                                            6+37= 9<  +8C -6+37= >2+> +</ .?:63-+>3@/ 90 &<?=> /<3@+>3@/ 6+37= A2/>2/< 9< 89>
                                                                               45 to 45 days          0.06       ...      ...      ...   Three month           0.344    0.328      0.344    0.198   2/6. 9< -98><966/. ,C >2/ 3>31+>398 &<?=> 9< A2/>2/< 9< 89> >2/ 3>31+>398 &<?=> -9?6.
     Canada                   3.00         3.00        3.00         3.00
                                                                               47 to 59 days          0.06       ...      ...      ...   Six month             0.443    0.426      0.443    0.293   2+@/ +==/<>/. =?-2 -6+37= +1+38=> +8C 8+.+<59 $/6/+=/. #+<>C &2/ 384?8->398 2/</38
     Euro zone                0.25         0.25        0.75         0.25
                                                                               60 to 89 days          n.q.       ...      ...      ...   One year              0.619    0.599      0.619    0.224   =2+66 89> +::6C >9 9< ,+< >2/ 09669A381 3 +8C -<3738+6 63+,363>C 33 +8C 63+,363>C +<3=381
     Japan                   1.475        1.475       1.475        1.475                                                                                                                            ?8./< &3>6/  90 >2/ '83>/. %>+>/= 9./ 8>/<8+6 $/@/8?/ 9./ 9< =>+>/ >+B 6+A= 333
     Switzerland              0.50         0.50        0.51         0.50       90 to 119 days         0.10       ...      ...      ...                                                              +8C 63+,363>C +<3=381 ?8./< 0/./<+6 9< =>+>/ =/-?<3>3/= 6+A= 3@ +8C +->398 >9 /809<-/ +
                                                                                                                                         Hibor
     Britain                  0.50         0.50        0.50         0.50       120 to 149 days        0.14       ...      ...      ...                                                              -9@/8+8> 89> >9 =?/ </6/+=/ 9< +1<//7/8> 89> >9 =//5 </37,?<=/7/8> -98>+38/. 38
     Australia                2.50         2.50        3.00         2.50       150 to 179 days        0.15       ...      ...      ...   One month             0.206    0.209      0.250    0.205   >2/ %/>>6/7/8> 1<//7/8> @ +8C 63+,363>C >2+> +8 8+.+<59 $/6/+=/. #+<>C 7312>
                                                                               180 to 209 days        0.18       ...      ...      ...   Three month           0.371    0.371      0.386    0.324   2+@/ >2+> .9/= 89> +<3=/ 0<97 9< >2<9?12 + 63+,363>C 90 + /,>9< @3 +8C 63+,363>C 90 +8
     Overnight repurchase                                                                                                                Six month             0.549    0.547      0.551    0.384   8+.+<59 $/6/+=/. #+<>C .?/ >9 3>= =>+>?= 9< +->= 9< 973==398= =38-/ !9@/7,/<               
                                                                               210 to 216 days        0.19       ...      ...      ...                                                              += ++8  9A8/<  9:/<+>9<  .3=-2+<1/<  6/==//  :/<73>>//  63-/8=//
     U.S.                     0.05         0.07         0.24        -0.03      218 to 239 days        0.19       ...      ...      ...   One year              0.864    0.864      0.875    0.412    :/<=98 38 -2+<1/  296./< 90 + <312> 90 ?=/ +8. /+=/7/8>  +<<+81/< 09< .3=:9=+6
     Euro zone                0.25         0.20         0.36         0.02      240 to 270 days        0.20       ...      ...      ...                                 Value         52-WEEK        9< ></+>7/8>  ><+8=:9<>/< 9<  :/<=98 A29 1/8/<+>/= 2+8.6/= ><+8=:9<>= ></+>=
                                                                                                                                                                                                    =>9</= 9< .3=:9=/= 90 =963. 9< 2+D+<.9?= A+=>/ @33 +8C 63+,363>C </6+>381 >9 >2/ #
                                                                                                                                                            Latest     Traded      High    Low      ?=38/== 9< >2/ =>9</. :9A/< 9< ,+>>/<C ,?=38/== 38-6?.381 ,?> 89> 6373>/. >9 +=
     U.S. government rates                                                     Commercial paper (AA financial)
                                                                                                                                                                                                    9A8/. 9< 9:/<+>/. ,C '% @/=>9<  +8. /<< -// %>9</. #9A/< 97:+8C  
                                                                               90 days                0.10    0.12     0.26     0.06     DTCC GCF Repo Index                                        +8. @333 +8C 63+,363>C >2+> +8C 8+.+<59 $/6/+=/. #+<>C </>+38/. </-/3@/. 9< +==?7/.
     Discount                                                                                                                            Treasury          0.056       92.716 0.255 0.010           :?<=?+8> >9 >2/ ==3187/8> 1<//7/8> 9< ==3187/8> ==?7:>398 +8. 8./783>C
                                                                               Euro commercial paper                                                                                                1<//7/8> 9< >2/ +@93.+8-/ 90 .9?,> >9 >2/ /B>/8> >2+> + 63+,363>C 90 +8 8+.+<59
                              0.75         0.75         0.75         0.75                                                                MBS               0.076       81.202 0.286 0.019           $/6/+=/. #+<>C /B-6?./. 0<97 >2/ 384?8->398 2/</38 ,C >2/ :</-/.381 =/8>/8-/ A9?6. ,/
                                                                               30 day                 n.q.     n.q.    0.01     0.01                                                                + 63+,363>C 09< A23-2 =?-2 8+.+<59 $/6/+=/. #+<>C A9?6. ,/ 4938>6C +8. =/@/<+66C 63+,6/
                                                                               Two month                       n.q.    0.22     0.01                                           Open Implied
     Federal funds                                                                                    n.q.                                                                                          A3>2 9>2/<= 38-6?.381 ,?> 89> 6373>/. >9 98/ 9< 79</ /,>9<= 9< $/9<1+83D/. /,>9<=
                                                                                                                                                               Settle Change Interest Rate          ?8./< +::63-+,6/ 6+A 89>2381 38 >23= 384?8->398 3= 38>/8./. >9 +6>/< +8C =?-2 +::63-+,6/
                                                                               Three month            n.q.     n.q.    0.24     0.05
     Effective rate        0.1200 0.1300            0.1800 0.0600                                                                                                                                   :<38-3:6/= 90 4938> +8. =/@/<+6 63+,363>C A2/</ 9>2/<A3=/ :<9@3./. ,C 6+A &2/ 384?8->398
     High                  0.3125 0.3125            0.5160 0.2800              Four month             0.25     n.q.    0.26     0.09     DTCC GCF Repo Index Futures                                2/</38 .9/= 89> +::6C >9 >2/ 3>31+>398 &<?=> +8. >2/ '83>/. %>+>/= A23-2 +</ :<9@3.381
     Low                   0.0500 0.0700            0.3000 0.0100              Five month             0.27     n.q.    0.28     0.11     Treasury Apr        99.933 unch. 14915 0.067               </6/+=/= +8. -9@/8+8>= 89> >9 =?/ 38 >2/ %/>>6/7/8> 1<//7/8>H
     Bid                   0.0500 0.0500            0.5000 0.0000              Six month              0.29     n.q.    0.29     0.14     Treasury May        99.940 0.005 5778 0.060                #% & '$&$ !"& E92E @3;64E:@?D E@ E96 #@E:@? :7 2?J D92== 36 :? HC:E:?8
                                                                                                                                                                                                    D92== 4@?7@C> E@ E96 656C2= 'F=6D @7 2?<CFAE4J &C@465FC6 2?5 E96 "@42= 'F=6D @7 E96
     Offer                 0.2800 0.2800            0.2800 0.0500              London interbank offered rate, or Libor                   Treasury Jun        99.940 unch. 16687 0.060               2?<CFAE4J @FCE 7@C E96 (@FE96C? :DEC:4E @7 $6H .@C< D92== D6E 7@CE9 E96 ?2>6 @7 E96
                                                                                                                                                                                                    @3;64E:?8 A2CEJ E96 32D:D 7@C E96 @3;64E:@? 2?5 E96 DA64:M4 8C@F?5D E96C6@7 D92== 36
     Treasury bill auction                                                     One month       0.15200 0.15220 0.19920 0.15040                                 LATEST       Week      52-WEEK       M=65 H:E9 E96 2?<CFAE4J @FCE 6=64EC@?:42==J :? 244@C52?46 H:E9 6?6C2= %C56C # 
     4 weeks                     0.015 0.025 0.350 0.000                       Three month     0.22660 0.22585 0.27675 0.22585                              Offer Bid        ago     high   low     H9:49 42? 36 7@F?5 2E HHH ?JD3 FD4@FCED 8@G 3J C68:DE6C65 FD6CD @7 E96 2?<CFAE4J
     13 weeks                    0.030 0.035 0.130 0.010                       Six month       0.32300 0.31980 0.43040 0.31980                                                                      @FCED 42D6 M=:?8 DJDE6> 2?5 3J 2== @E96C A2CE:6D :? :?E6C6DE 2?5 D92== 36 D6CG65 FA@?
     26 weeks                    0.050 0.050 0.150 0.030                       One year        0.54950 0.54650 0.71050 0.54550           Eurodollars (mid rates)                                     677C6J /6:86C !:C<=2?5  ==:D ""&  $ "2(2==6 9:428@ "   @9?  F6DE@?
                                                                                                                                                                                                    ":E:82E:@? )CFDE66 C6==  #2?6==2 ""&  G6?F6 @7 E96 (E2CD (F:E6   "@D ?86=6D
                                                                                                                                         One month          0.10     0.20   0.15    0.19 0.15          )9@>2D "@EE6C>2? :?892> #4FE496? ""&                ! (EC66E $, ,2D9:?8E@?
                                                                               Libor Swaps (USD)                                         Two month          0.12     0.25   0.19    0.19 0.19                  !6??6E9 !=66 !=66 )F49:? @852?@77  (E6C? ""&  G6?F6 @7 E96
     Secondary market                                                                                                                                                                               (E2CD E9 =@@C "@D ?86=6D    2?5 '@36CE .2=6? *( * ( EE@C?6JD %7M46
                                                                               Two year             0.538 0.549 0.665 0.338              Three month        0.15     0.30   0.23    0.25 0.23
                                                                               Three year           1.002 1.016 1.113 0.431              Four month         0.20     0.30   0.25    0.38 0.25        ($.  92>36CD (E  C5 =@@C $6H .@C< $.          =9 += >9 ,/ =9 G6/. +8. </-/3@/.
     Freddie Mac                                                                                                                                                                                    ,C 89 6+>/< >2+8 +C            +>  :7 #</@+36381 +=>/<8 &37/
                                                                                                                                         Five month         0.20     0.35   0.28    0.33 0.28       #% & '$&$ !"& E92E @?=J E9@D6 C6DA@?D6D @C @3;64E:@?D E92E 2C6 E:>6=J
     30-year mortgage yields
                                                                                                                                         Six month          0.25     0.50   0.38    0.53 0.38       M=65 D6CG65 2?5 C646:G65 H:== 36 4@?D:56C65
     30 days            n.a.                   n.a.       n.a.        n.a.     Notes on data:                                                                                                       #% & '$&$ !"& E92E E96 @?@C23=6 ==2? " C@AA6C @7 E96 * (
     60 days            n.a.                   n.a.       n.a.        n.a.     U.S. prime rate is effective December 16, 2008. Discount rate is effective February 19, 2010. U.S. prime             2?<CFAE4J @FCE 7@C E96 (@FE96C? :DEC:4E @7 $6H .@C< 92D D4965F=65 2 962C:?8 E@
                                                                                                                                                                                                    255C6DD E9:D >2EE6C @? *                 &    "! "(! $! !(
                                                                               rate is the base rate on corporate loans posted by at least 70% of the 10 largest U.S. banks; Other prime            *"$ !*           
     Fannie Mae
                                                                               rates aren’t directly comparable; lending practices vary widely by location; Discount rate is the charge on          #% & '$&$ !"& E92E 2?J @3;64E:?8 A2CE:6D 2C6 C6BF:C65 E@ 2EE6?5 E96
     30-year mortgage yields                                                   loans to depository institutions by the New York Federal Reserve Banks; Federal-funds rate is on                     962C:?8 2?5 E92E 72:=FC6 E@ 2AA62C >2J C6DF=E :? C6=:67 36:?8 8C2?E65 FA@? 5672F=E
     30 days          3.899 3.905 4.350 2.914                                  reserves traded among commercial banks for overnight use in amounts of $1 million or more; Call money
                                                                                                                                                                                                     "$ "$ !"$ &"! "$ &" %% & %&& !& $ !& !
     60 days          3.939 3.943 4.396 2.941                                  rate is the charge on loans to brokers on stock-exchange collateral; Commercial Paper (AA financial) is               $& "' !&% A=62D6 42== 7C@> E96 * ( 2?5 2?252    @C 42==
                                                                               from the Federal Reserve and is presented with a one-day lag. Libor is the British Bankers’ Association               7@C C6>2:?:?8 :?E6C?2E:@?2= 42==6CD     @C G:D:E 9EEA HHH <44==4 ?6E
     Bankers acceptance                                                        average of interbank offered rates for dollar deposits in the London market; Libor Swaps quoted are mid-              )C@?@I!6CC#466(6EE=6>6?E
     30 days                       0.15       0.15        0.23       0.15      market, semi-annual swap rates and pay the floating 3-month Libor rate. DTCC GCF Repo Index is                        &C@G:565 9@H6G6C E92E 2D :E C6=2E6D E@ !6CC#466 (E@C65 &@H6C @>A2?J ""                                       © 2014 Dow Jones & Company, Inc.
     60 days                       0.19       0.19        0.28       0.19      Depository Trust & Clearing Corp.'s weighted average for overnight trades in applicable CUSIPs. Value                DF3A2CE G:: :D 2AA=:423=6 @?=J E@ E96 6IE6?E E92E DF49 =:23:=:EJ :7 2?J C6=2E6D E@ @C
                                                                               traded is in billions of U.S. dollars. Futures on the DTCC GCF Repo Index are traded on NYSE Liffe US.               2C:D6D 7C@> E96 DE@C65 A@H6C @C 32EE6CJ 3FD:?6DD                                                                            All Rights Reserved.
     90 days                       0.23       0.23        0.28       0.23
     120 days                      0.25       0.25        0.33       0.25      Sources: Federal Reserve; Bureau of Labor Statistics; DTCC; ICAP plc.; SIX Financial Information;
     150 days                      0.28       0.28        0.38       0.28      General Electric Capital Corp.; Tullett Prebon Information, Ltd.




                                                      YELLOW
                                                      CYAN
                                                      BLACK
                                                      MAGENTA                       Composite                                                                                                                                                          P2JW118000-0-C00500-1--------XA
Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 12 of 48




            EXHIBIT C
          Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 13 of 48




Cathode Ray Tube Antitrust Litigation
Report on Exclusions Received for Hitachi / Samsung SDI

ClaimID             FirstName               LastName      City         State   OptOut Date
n/a                 Arlene J                Smith         Grandville   MI         4/28/2014
              Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 14 of 48


                                                                                 Date of
Entity                         Subsidiaries                                     Exclusion
ViewSonic Corporation          ViewSonic International Corporation              6/12/2014
                               ViewSonic Display Limited
                               ViewSonic Hong Kong Limited
                               ViewSonic Europe Limited

Target Corporation                                                              6/12/2014

Tech Data Corporation          1250895 Ontario Ltd                              6/11/2014
                               A.Y.C Nederland B.V.
                               Azlan European Finance Limited
                               AzlanGmbH
                               Azlan Group Limited
                               Azlan Limited
                               Azlan Logistics Limited
                               Azlan Overseas Holdings Ltd.
                               Azlan Scandinavia AB
                               Computer 2000 Distribution Ltd.
                               Datatechnology Datech Ltd.
                               Datech 2000 Ltd.
                               FCB Nominees Limited
                               Frontline Distribution Ltd.
                               Frontline Distribution (Ireland) Ltd.
                               Hakro‐Ooseterberg‐Nijkerk B.V.
                               Horizon Technical Services (UK) Limited
                               Horizon Technical Services AB
                               Hotlamps Limited
                               lSI Distribution Ltd.
                               Managed Training Services Limited
                               Maneboard Ltd
                               Maverick Presentation Products Limited
                               Quadrangle Technical Services Limited
                               Screen Expert Limited UK
                               Specialist Distribution Group (SDG) Limited
                               Tech Data Brasil, Ltda
                               TD Facilities, Ltd. (Partnership)
                               TD Fulfillment Services, LLC
                               TD Tech Data AB
                               TD Tech Data Portugal Lda
                               TD United Kingdom Acquisition Limited
                               Tech Data (Netherlands) B.Y.
                               Tech Data (Schweiz) GmbH
                               Tech Data bvba/sprl
                               Tech Data Canada Corporation
                               Tech Data Chile S.A.
                               Tech Data Colombia S.A.S.
                               Tech Data Corporation ("TDC")
                               Tech Data Demnark ApS
                               Tech Data Deutschland GmbH
                               Tech Data Distribution s.r.o.
                               Tech Data Education, Inc.
                               Tech Data Espana S.L.U.
                               Tech Data Europe GmbH
                               Tech Data Europe Services and Operations, S.L.
                               Tech Data European Management GmbH
                               Tech Data Finance Partner, Inc.
                               Tech Data Finance SPV, Inc.
                               Tech Data Financing Corporation
                               Tech Data Finland OY
                               Tech Data Florida Services, Inc.
                               Tech Data France Holding SarI
                               Tech Data France S.A.S
                               Tech Data GmbH & Co OHG
                               Tech Data Information Technology GmbH
                               Tech Data Global Finance LP
                               Tech Data International SarI
                               Tech Data Italia s.r.l.
               Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 15 of 48


                                                                                                                                        Date of
Entity                                       Subsidiaries                                                                              Exclusion
                                             Tech Data Latin America, Inc.
                                             Tech Data Limited
                                             Tech Dara Lux Finance Sari
                                             Tech Data Luxembourg Sari
                                             Tech Data Management GmbH
                                             Tech Data Marne SNC
                                             Tech Data Mexico S. de R. L. de C. V.
                                             Tech Data Midrange GmbH

                                             Tech Data Mobile Acquisition Limited (formerly known as Brightstar Acquisition Limited)

                                             Tech Data Mobile Austria, GmbH (formerly known as AKL Telecommunications GmbH)
                                             Tech Data Mobile Belgium, BVBA (formerly known as M.C.C Belgium BVBA)
                                             Tech Data Mobile CooperatiefWA (formerly known as Brightstar CooperatiefW.A.)
                                             Tech Data Mobile Limited (formerly known as Brightstar Europe Limited)
                                             Tech Data Mobile Netherlands B.V. (formerly known as M.C.C BV)
                                             Tech Data Nederland B.V.
                                             Tech Data Norge AS
                                             Tech Data Operations Center, SA
                                             Tech Data Dsterreich GmbH
                                             Tech Data Peru S.A.C.
                                             Tech Data Polska Sp.z.o.o.
                                             Tech Data Product Management, Inc.
                                             Tech Data Resources, LLC
                                             Tech Data Service GmbH
                                             Tech Data Servicios, S. de R.L. de C. V.
                                             Tech Data Strategy GmbH
                                             Tech Data Tennessee, Inc.
                                             Tech Data Uruguay S.A.
                                             Triade Holding B. V.

IGB Eletronica S/A                           Gradiente Audio e Video LTDA                                                              6/12/2014
                                             Gradiente Electronica S/A

Cemaz Industria Eletronica da Amazonia S/A   Componel Industria e Comercio LTDA.                                                       6/12/2014
                                             Santron Industrias Electroeletronicas LTDA

Apple Inc.                                   Apple Inc.                                                                                6/12/2014
                                             Apple Operations
                                             Apple Operations Europe (flk/a Apple Computer Limited)
                                             Apple Operations Europe (flk/a Apple Computer Limited) (Singapore branch)
                                             Apple Computer International
                                             Apple Computer Inc.

P.C. Richard & Son Long Island Corporation   P.C. Richard & Son Long Island Corporation                                                6/10/2014
                                             A.J. Richard & Sons, Inc.
                                             P.C. Richard & Son, LLC
                                             P.C. Richard Service Company
                                             Alfred Reliable Appliances, Inc.
                                             Reliable Richard's Service Corp.
                                             AGP Services Corp.
                                             Two Guys Ventures Corp.
                                             A.J. Staten Island, LLC
                                             P.C. Deer Park, LLC
                                             P.C. 185 Price Parkway, LLC
                                             P.C. 1574, Inc.
                                             P.C. 1574 Milford, LLC
                                             P.C. Lawrenceville, LLC
                                             P.C. Brick 70, LLC
                                             P.C. Richard & Son Connecticut, LLC

Interbond Corporation of America             dba BrandsMart USA                                                                        6/10/2014

Schulze Agency Services                      Tweeter Newco, LLC                                                                        6/10/2014
                                             Tweeter Opco, LLC
                                             Tweeter Intellechlal Property, LLC
                Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 16 of 48


                                                                                                                               Date of
Entity                           Subsidiaries                                                                                 Exclusion
                                 Tweeter Tivoli, LLC
                                 Tweeter Home Entertainment Group, Inc.
                                 Sound Advice, Inc. d/b/a Sound Advice and Showcase Home Entertainment
                                 Hifi Buys Incorporated
                                 Tweeter Etc.
                                 Douglas TV & Appliance, Inc.
                                 Douglas Audio Video Caters, Inc.
                                 United Audio Centers, Inc.
                                 Sumere Electronics Incorporated d/b/a NOW! Audio Video
                                 Bryn Mawr Radio and Television, Inc.
                                 The Video Scene, Inc. d/b/a Big Screen City
                                 Hillcrest High Fidelity, Inc. d/b/a Hillcrest Audio
                                 DOW StereoNideo, Inc.
                                 Home EntertailUl1ent of Texas, Inc.
                                 SMK Marketing, Inc. d/b/a Audio Video Systems
                                 Sound Advice of Arizona, Inc.
                                 New England Audio Co., Inc.
                                 NEA Delaware, Inc.
                                 THEG USA L.P.
                                 Showcase Home Entertainment

MARTA Cooperative of America                                                                                                  6/10/2014

CompuCom Systems, Inc                                                                                                         6/10/2014

ABC Appliance, Inc.              dba ABC Warehouse                                                                            6/10/2014

Office Depot, Inc.               Office Depot Asia Holding Limited                                                            6/10/2014
                                 Office Depot BA SAS (f.k.a. Guilbert France S.AS.)
                                 Office Depot BVBA (f.k.a. Guilbert Belgium BVBA)
                                 Office Depot Brasil Limitada (inactive)
                                 Office Depot Brasil Participacoes Limitad
                                 Office Depot Centro America, SA de CV
                                 Office Depot Chile Limitada (inactive)
                                 Office Depot Cyprus Limited (f.k.a Claigan Ltd.)
                                 Office Depot Delaware Overseas Finance No.1, LLC (f.k.a Office Depot Delaware Overseas
                                 Finance No.1, Inc.)
                                 Office Depot de Mexico SA de CV
                                 Office Depot Deutschland GmbH (f.k.a Guilbert Deutschland GmbH)
                                 Office Depot France SNC (f.k.a Office Depot France SAS )
                                 Office Depot Hungary Kft (f.k.a Elso Iroda Superstore Kft.)
                                 Office Depot, Inc.
                                 Office Depot International BVBA
                                 OD International (Luxembourg) Finance
                                 Office Depot, B. V. (formerly Guilbert Netherland BV)
                                 Office Depot Cooperatief W.A.
                                 Office Depot Europe B. V.
                                 Office Depot Europe Holdings Ltd.
                                 Office Depot GmbH + Switzerland
                                 Office Depot Holding GmbH + Switzerland
                                 Office Depot Holdings Ltd.
                                 Office Depot Holdings 2 Ltd.
                                 Office Depot Holdings 3 Ltd.
                                 Office Depot International B.V.
                                 Office Depot International (UK) Ltd.
                                 Office Depot Ireland Limited (f.k.a Guilbert Ireland Ltd)
                                 Office Depot (Israel) Ltd.
                                 Office Depot Italia S.r.1.
                                 Office Depot Japan Limited
                                 Office Depot Korea Limited (f.k.a Best Office Co., Ltd.)
                                 Office Depot Latin American Holdings B.V.
                                 Office Depot MDF SNC
                                 Office Depot NA B. V.
                                 Office Depot N.A. Shares Services LLC
                                 Office Depot Netherland B.V. (f.k.a Office Depot International, B.V.) (f.k.a Viking Direct
                                 (Holdings) B.V.)
         Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 17 of 48


                                                                                                                        Date of
Entity                    Subsidiaries                                                                                 Exclusion
                          Office Depot Network Technology Ltd.
                          Office Depot (Operations) Holding B.V. (f.k.a Guilbert Trademarks B.V.)
                          Office Depot Overseas Limited
                          Office Depot Overseas Holding Limited
                          Office Depot Overseas 2 Limited
                          Office Depot Poland Sp Z.O.o. (f.k.a Fontinalis)
                          Office Depot Private Limited
                          Office Depot Procurement and Sourcing (Shenzhen) Company Ltd. (Or translated: Office Depot
                          Merchandising (Shenzhen) Company Ltd.)
                          Office Depot Puerto Rico, LLC
                          Office Depot SAS (f.k.a Guilbert SAS)
                          Office Depot Service Center SRL
                          Office Depot Service ‐ und BeteiligungsGmbH&Co.KG
                          Office Depot s.r.o. (f.k.a Papirius s.r.o.)
                          Office Depot S.L. (f.k.a Guilbert Espana S.L.)
                          Office Depot Tokumei Kumiai
                          Office Depot UK Limited (f.k.a Guilbert UK Ltd)
                          Office Depot ‐Viking Holdings B.V.
                          2300 South Congress LLC
                          4Sure.com, Inc.
                          AGE Kontor & Data AB
                          AsiaEC.com Limited
                          BizDepot, LLC (inactive)
                          Centro de Apoyo Caribe SA de CV
                          Centro de Apoyo SA de CV
                          Computers4Sure.com, Inc.
                          Curry's Limited
                          Deo Deo Tokumei Kumiai
                          eOffice Planet India Private Limited
                          Erial BQ S.A.
                          Europa S.A.S.
                          Gosta Hansson & Co AB
                          Guilbert Beteiligungsholding GmbH
                          Guilbert International B. V.
                          Guilbert Luxembourg S.AR.L.
                          Guilbert UK Holdings Ltd
                          Guilbert UK Pension Trustees Ltd
                          HC Land Company LLC
                          Helge Dalmberg AB + Sweden
                          Heteyo Holdings B V.
                          Hutter GmbH
                          Japan Office Supplies, LLC
                          Kontorsfackhandlama Stockholm AB + Sweden
                          Kontorsgruppen i Sverige AB + Sweden
                          NEWGOH Immobilienverwaltung GmbH
                          Neighborhood Retail Development Fund, LLC (inactive)
                          Niceday Distribution Centre Ltd
                          North American Card and Coupon Services, LLC
                          Notus Aviation, Inc.
                          OD Acquisition Canada ULC
                          OD Aviation, Inc.
                          OD Colombia Ltda
                          OD EI Salvador, Ltda. de C.V.
                          OD France, LLC
                          ODV France LLC
                          ODG Caribe SA de CV (f.k.a Urguguay Cia. Papelera, SA de CV)
                          OD Guatemala y Compania. Limitada
                          OD Honduras S de RL
                          OD International, Inc.
                          OD International Holdings CV
                          OD International (Luxembourg) Holdings S.A.R.L.
                          OD International (Luxembourg) Participation S.A.R.L.
                          OD Management SNC
                          OD Medical Solutions LLC
                          OD of Texas, LLC (f.k.a OD of Texas Inc.)
                          ODPanamaSA
               Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 18 of 48


                                                                                                                             Date of
Entity                          Subsidiaries                                                                                Exclusion
                                OD S.N.C.
                                ODST, LLC (inactive)
                                OD Tressorerie (f.k.a om S.N.C.)
                                Office 1 Ltd
                                Office 1 (1995) Ltd
                                Office Club, Inc.
                                OfficeMax Contract, Inc. (f.k.a. Boise Cascade Office Products Corporation)
                                OfficeMax Incorporated (f.k.a. Boise Cascade Corporation)
                                OfficeMax North America, Inc. (f.k.a. OfficeMax, Inc.)
                                OfficeSupplies.com, Inc.
                                Office Town, Inc. (inactive)
                                Papirius Kft.
                                Pappersnabben i Malmo AB + Sweden
                                Patitucci Ltd.
                                Reliable Uk Ltd
                                Ritma AB + Sweden
                                S.A.R.L.
                                Servicios Administrativos Office Depot SAdeCV
                                Servicios y Material De Escritorio S.L.
                                Solutions4Sure.com, Inc.
                                Stichting Office Depot Charity for Children
                                Swinton Avenue Trading Limited, Inc.
                                The Reliable Corporation
                                Viking Direct B.V.
                                Viking Direct (Holdings) Limited
                                Viking Direct (Ireland) Limited (f.k.a Viking Direct (Ireland) Limited; then Office Depot
                                International (Ireland) Limited ‐new change effective as of 912004)
                                Viking Direct S.A.R.L.
                                Viking Direkt GesmbH
                                Viking Finance (Ireland) Limited
                                Viking Office Products, Inc.
                                Viking Office Products KK
                                Viking Office Products S.r.l. (f.k.a Viking Direct SrI)
                                VOP (Ireland) Limited
                                VPC System S.r.l (inactive)

Circuit City                    Alfred H Siegel, Trustee                                                                    6/5/2014

Sears Roebuck / Kmart           Sears, Roebuck and Co.                                                                      6/4/2014
                                Sears Holding Corporation
                                Sears Holding Management Corporation
                                Kmart Corporation
                                Kmart Management Corporation
                                Kmart Holdings Corporation

Electrograph Systems, Inc.      Electrograph Systems, lnc.                                                                  5/22/2014
                                International Computer Graphics, Inc.
                                ActiveLight, Inc.
                                CineLight Corporation
                                Manchester Technologies, Inc.
                                Manchester Equipment Co., Inc.
                                Champion Vision, Inc.
                                Coastal Office Products, Inc.
                                Electrograph Technologies Corp.

Costco Wholesale Corporation                                                                                                4/23/2014

Best Buy                        Best Buy Co., Inc.                                                                          5/12/2014
                                Best Buy Purchasing, LLC
                                Best Buy Enterprise Services, Inc.
                                Best Buy Stores, L.P.
                                BestBuy.com, LLC
                                Magnolia Hi‐Fi, Inc.

Dell Inc                        1397639 Ontario, Inc.                                                                       6/26/2014
                                26éme Avenue SAS
         Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 19 of 48


                                                                                             Date of
Entity                    Subsidiaries                                                      Exclusion
                          881229 Alberta ULC
                          Abu Dhabi Branch of PSC Healthcare Software, Inc.
                          Active Concepts Inc.
                          Active Concepts PTY
                          Aelita Software Branch, Moscow
                          Aelita Software Branch, St. Petersburg
                          Aelita Software Corporation
                          Aelita Software Limited (UK)
                          Alienware Corporation
                          Alienware Corporation (Pacific Rim), Pty Ltd.
                          Alienware Labs Corporation
                          Alienware Latin America, S.A (Renamed Dell Costa Rica SA)
                          Alienware Limited
                          AppAssureTechnologies Inc.
                          ASAP Software Express Inc.
                          Aventail Europe Ltd
                          Aventail LLC
                          BakBone Software GmbH
                          BakBone Software India Pvt. Ltd.
                          BakBone Software Ltd.
                          BakBone Software Ltd. Russia Branch
                          BakBone Software SARL
                          BakBone Software, Inc.
                          Bearing PointManagement Consulting (Shanghai) Ltd.
                          BitKooCA LLC
                          Bluefolder, Inc
                          Bolts Acq. Corp.
                          Boomi, Inc
                          Bracknell Boulevard (Block C) L.L.C.
                          Bracknell Boulevard (Block D) L.L.C.
                          Bracknell Boulevard Management Company Limited
                          Branch of Dell (Free ZoneCompany L.L.C.)
                          Canada Branch of Perot Systems Corporation
                          Change Base Ltd
                          Charonware s.r.o.
                          Clerity Solutions, Inc.
                          Coldspark, Inc.
                          Compellent Technologies France Sarl
                          Compellent Technologies Germany GmbH
                          Compellent Technologies Inc.
                          Compellent Technologies International Ltd.
                          Compellent Technologies Italy Srl
                          Compellent Technologies Netherlands BV
                          Corporacion Dell de Venezuela SA
                          Credant Technologies International, Inc. (France)
                          Credant Technologies International, Inc. (Switzerland)
                          Credant Technologies Inc.
                          Credent Technologies, Inc.
                          Credant Technologies UK
                          Credent Technologiesm UK (Branch of Credent Technologies, Inc.)
                          CSCAN Acquisition Corp.
                          DCC Executive Security Inc.
                          Dell (Chengdu) Company Limited
                          Dell (China) Company Limited
                          Dell (China) Company Limited, Beijing Branch
                          Dell (China) Company Limited, Beijing Liaison Office
                          Dell (China) Company Limited, Chengdu Branch
                          Dell (China) Company Limited, Chengdu Liaison Office
                          Dell (China) Company Limited, Dalian Branch
                          Dell (China) Company Limited, Guangzhou Branch
                          Dell (China) Company Limited, Guangzhou Liaison Office
                          Dell (China) Company Limited, Hangzhou Liaison Office
                          Dell (China) Company Limited, Nanjing Liaison Office
                          Dell (China) Company Limited, Shanghai Branch
                          Dell (China) Company Limited, Shanghai Liaison Office
                          Dell (China) Company Limited, Shenzhen Liaison Office
         Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 20 of 48


                                                                                                                      Date of
Entity                    Subsidiaries                                                                               Exclusion
                          Dell (China) Company Limited, Xiamen Branch
                          Dell (PS) BV (f.k.a. Perot Systems Nederland B.V.)
                          Dell (Switzerland) GmbH
                          Dell (Xiamen) Company Limited
                          Dell (Xiamen) Company Limited, Dalian Branch
                          Dell A.B.
                          Dell A.S.
                          Dell A/S
                          Dell America Latina Corp.
                          Dell America Latina Corp.,Argentina Branch
                          Dell Asia B.V.
                          Dell Asia Holdings Pte. Ltd.
                          Dell Asia Pacific Sdn Bhd (Pakistan Liaison Office)
                          Dell Asia Pacific Sdn.
                          Dell Asia Pacific Sdn. Philippines RepresentativeOffice
                          Dell Asia Pte. Ltd.
                          Dell Asset Revolving Trust
                          Dell Asset Securitization GP L.L.C.
                          Dell Asset Securitization Holding L.P.
                          Dell Australia Pty. Limited
                          Dell B.V.
                          Dell B.V., Taiwan Branch
                          Dell Canada Inc.
                          Dell Colombia Inc.
                          Dell Colombia Inc., Colombia Branch
                          Dell Computadores do Brasil Ltda.
                          Dell Computer (Proprietary) Ltd
                          Dell Computer de Chile Ltda.
                          Dell Computer EEIG
                          Dell ComputerHoldings L.P.

                          Dell Computer International (II) – Comercio de Computadores Sociedade UnipessoalLda
                          Dell Computer S.A.
                          Dell Computer Services de Mexico SA de CV
                          Dell Computer spol. sro
                          Dell Conduit Funding L.P.
                          Dell Conduit GP L.L.C.
                          Dell Corporation (Thailand) Co., Ltd.
                          Dell Corporation Limited
                          Dell Corporation Limited – Northern Ireland Place of Business
                          Dell DFS Canada Inc.
                          Dell DFS Corporation
                          Dell DFS Holdings Kft.
                          Dell DFS Holdings L.L.C.
                          Dell DFS Ltd
                          Dell DFS Ltd. ‐ Spain Branch
                          Dell Direct

                          Dell Distribution (EMEA) Limited External Company (Ghana) [renamed Dell Emerging Markets
                          (EMEA) Limited External Company (Ghana)]
                          Dell DistributionMaroc (Succ)
                          Dell Emerging Market (EMEA) Ltd (Russia Representative Office)
                          Dell Emerging Markets (EMEA) Limited
                          Dell Emerging Markets (EMEA) Limited ‐ Egypt RepresentativeOffice
                          Dell Emerging Markets (EMEA) Limited – Representative Office
                          Dell Emerging Markets (EMEA) Limited ‐ Representative Office (Jordan)
                          Dell Emerging Markets (EMEA) Limited ‐ Representative Office (Republic of Croatia)
                          Dell Emerging Markets (EMEA) Limited (Kazakhstan Representative Office)
                          Dell Emerging Markets (EMEA) Limited (Uganda RepresentativeOffice)

                          Dell Emerging Markets (EMEA) Limited Magyarorszagi Kereskedelmi Kepviselet – Rep. Office
                          Dell Emerging Markets (EMEA) Limited Representative Office ‐ Lebanon
                          Dell Emerging Markets (EMEA) Limited Trade Representative Office (Bulgaria)
                          Dell Equipment Funding L.P.
                          Dell Equipment GP L.L.C
                          Dell Export Sales Corporation
         Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 21 of 48


                                                                                                                                  Date of
Entity                    Subsidiaries                                                                                           Exclusion
                          Dell Federal Systems Corporation
                          Dell Federal Systems GP L.L.C.
                          Dell Federal Systems L.P.
                          Dell Federal Systems LP L.L.C.
                          Dell Financial Services L.L.C.
                          Dell Funding L.L.C.
                          Dell FZ – LLC
                          Dell FZ ‐LLC ‐ Qatar Branch
                          Dell FZ‐LLC– Bahrain Branch
                          Dell Gesm.b.H.
                          Dell Global B.V.
                          Dell Global B.V., Singapore Branch
                          Dell Global Business Center Sdn. Bhd.
                          Dell Global BV (Bangladesh RepresentativeOffice)
                          Dell Global BV (Indonesia RepresentativeOffice)
                          Dell Global BV (Pakistan Liaison Office)
                          Dell Global BV (Philippines RepresentativeOffice)
                          Dell Global BV (Sri‐Lanka RepresentativeOffice)

                          Dell Global BV (Vietnam Representative Office), renamed Dell Global BV (Hanoi Representative
                          Office)
                          Dell Global Holdings II BV
                          Dell Global Holdings III BV
                          Dell Global Holdings III L.P.
                          Dell Global Holdings IV L.L.C.
                          Dell Global Holdings IX L.L.C.
                          Dell Global Holdings L.L.C.
                          Dell Global Holdings Ltd.
                          Dell Global Holdings VI L.L.C.
                          Dell Global Holdings VII L.L.C.
                          Dell Global Holdings VIII L.L.C
                          Dell Global Holdings X L.L.C
                          Dell Global International B.V.
                          Dell Global Procurement Malaysia Sdn. Bhd.
                          Dell Global Pte. Ltd.
                          Dell GmbH
                          Dell Guatemala Ltda
                          Dell Halle GmbH
                          Dell Honduras S de RL de CV
                          Dell HongKong Limited
                          Dell Hungary Technology Solutions Trade LLC
                          Dell III – Comercio de Computadores,Unipessoal LDA
                          Dell India (Sales &Marketing) Private Limited
                          Dell India Private Ltd.
                          Dell Information Technology (Hunan) Company Limited
                          Dell Information Technology (Kunshan) Company Limited
                          Dell International Holdings I L.L.C.
                          Dell International Holdings IX B.V.
                          Dell International Holdings Kft.
                          Dell International Holdings SAS
                          Dell International Holdings VIII B.V.
                          Dell International Holdings X B.V.
                          Dell International Holdings XII CoöperatoefU.A.
                          Dell International Inc.
                          Dell International L.L.C.

                          Dell International Services India Private Limited (f.k.a. Perot Systems TSI (India) Private Limited)
                          Dell International Services Philippines Inc.
                          Dell International Services SRL
                          Dell Japan Inc.
                          Dell L.L.C.
                          Dell Marketing Corporation
                          Dell MarketingGP L.L.C.
                          Dell Marketing L.P.
                          Dell Marketing LP L.L.C.
                          Dell Mexico, S.A. de C.V.
         Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 22 of 48


                                                                                                                  Date of
Entity                    Subsidiaries                                                                           Exclusion
                          Dell N.V.
                          Dell New Zealand Limited
                          Dell Panama S. de R.L.
                          Dell Perú, SAC
                          Dell Procurement (Xiamen) Company Limited
                          Dell Procurement (Xiamen) Company Limited, Shanghai Branch
                          Dell Procurement (Xiamen) Company Limited, Shenzhen Liaison Office
                          Dell Product and Process Innovation Services Corp.
                          Dell Products
                          Dell Products (Europe) B.V.
                          Dell Products (Poland) Sp. z o.o
                          Dell Products Corporation
                          Dell Products GP L.L.C.
                          Dell Products L.P.
                          Dell Products LP L.L.C.
                          Dell ProductsManufacturing Ltd.
                          Dell Protective Services Inc.
                          Dell Puerto Rico Corp.
                          Dell Quebec Inc.
                          Dell Receivables Corporation
                          Dell Receivables GP L.L.C.
                          Dell Receivables L.P.
                          Dell Receivables LP L.L.C.
                          Dell Research
                          Dell Revolver Company L.P.
                          Dell Revolver Funding L.L.C.
                          Dell Revolver GP. L.L.C.
                          Dell S.A.
                          Dell S.A.
                          Dell S.p.A.
                          Dell s.r.o.
                          Dell SA
                          Dell Sales Malaysia Sdn Bhd
                          Dell SAS
                          Dell Services (China) Company Limited

                          Dell Services Federal Government, Inc. (fka Perot Systems Government Services, Inc.)
                          Dell Services GmbH (FKA. Perot Systems (Germany) GmbH)
                          Dell Services S.r.l.
                          Dell Singapore Pte. Ltd.
                          Dell Services Pte. Ltd. (f/k/a Perot Systems (Singapore) Pte. Ltd.)
                          DELL SOLUTIONS(UK) LTD
                          Dell Sp.z.o.o.
                          Dell Taiwan B.V.
                          Dell Taiwan B.V., Taiwan Branch
                          Dell Technology & Solutions (Nigeria) Limited
                          Dell Technology & Solutions Israel Ltd.
                          Dell Technology & Solutions Ltd. (Formerly Original Solutions Limited)
                          Dell Technology Products and Services S.A
                          Dell Technology Services Inc. S.R.L.
                          Dell Teknoloji Limited Şirketi
                          Dell Trinidad and Tobago Limited
                          Dell USA Corporation
                          Dell USA GP L.L.C.
                          Dell USA L.P.
                          Dell USA LP L.L.C.
                          Dell World Trade Corporation
                          Dell World Trade GP L.L.C.
                          Dell World Trade L.P.
                          Dell World Trade LP L.L.C.
                          DFS BV
                          DFS Equipment Holdings, LP
                          DFS Equipment Remarketing LLC
                          DFS Funding L.L.C.
                          DFS‐SPV L.L.C.
                          DIH IX CV
         Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 23 of 48


                                                                                Date of
Entity                    Subsidiaries                                         Exclusion
                          DIH VI CV
                          DIH VII CV
                          DIH VIII CV
                          DIH X CV
                          EqualLogic Japan Company Limited
                          Fastlane Technologies Corporation
                          Fastlane Technologies UK
                          Force10 International, Ltd.
                          Force10 Networks (Shanghai) Ltd.
                          Force10 Networks Australia Pty. Ltd.
                          Force10 Networks Germany (Branch)
                          Force10 Networks Global, Inc.
                          Force10 Networks Hong Kong (Branch)
                          Force10 Networks India Pvt. Ltd.
                          Force10 Networks International, Inc.
                          Force10 Networks KK
                          Force10 Networks Korea YH
                          Force10 Networks Ltd.
                          Force10 NetworksMalaysia (Branch)
                          Force10 Networks Singapore Pte. Ltd.
                          Force10 Networks Spain (Rep office)
                          Force10 Networks, Inc.
                          Fresh Dew Investments Ltd.
                          Fvision Acquisition Corp.
                          Gale Networks PrivateLimited
                          Gale Technologies, Inc.
                          Imceda Software Australia Pty, Ltd.
                          Imceda Software Inc.
                          Imceda Technologies Pty, Ltd.
                          Invirtus, Inc.
                          Lecco Technology (UK) Limited
                          Lecco Technology Inc.
                          Lecco Technology, Inc. (USA)
                          License Technologies Group, Inc.
                          LLC Dell Ukraine
                          Lumenare NetworksMauritius Ltd.
                          Magnum Technologies, Inc.
                          MakeTechnologies Inc.
                          Messagewise
                          Muretia Investments Ltd
                          NetPro Computing Canada, Inc.
                          NetPro Computing France, Inc.
                          NetPro ComputingGermany, Inc.
                          NetPro ComputingUK, Inc.
                          NetPro Computing, Inc.
                          NetPro Engineering, Inc.
                          NetPro Europe Branch
                          NetPro Europe, Inc.
                          NetPro France Branch
                          NetProGermany Branch
                          NetProUK Branch
                          Ocarina Networks India Pvt. Ltd.
                          OptiGrowth CapitalSarl
                          Oy Dell A.B.
                          PacketTrap Networks, Inc.
                          PassGo Technologies Ltd
                          PassGo Technologies Trustees Ltd
                          Perot Systems (Malaysia) Sdn. Bhd.
                          Perot Systems (Shanghai) Consulting Co., Limited
                          Perot Systems (Singapore) Pte. Ltd.
                          Perot Systems (Switzerland) GmbH
                          Perot Systems (UK) Ltd.
                          Perot Systems Application Solutions Inc.
                          Perot Systems B.V.
                          Perot Systems Communications Services, Inc.
                          Perot Systems Corporation
         Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 24 of 48


                                                                                  Date of
Entity                    Subsidiaries                                           Exclusion
                          Perot Systems Europe Limited
                          Perot Systems Government Healthcare Solutions, Inc.
                          Perot Systems Government Solutions, Inc.
                          Perot Systems Healthcare Solutions, Inc.
                          Perot Systems Holdings Pte. Ltd
                          Perot Systems Investments B.V.
                          Perot Systems Revenue Cycle Solutions, Inc.
                          Perot Systems TSI (Bermuda) Ltd.
                          Perot Systems TSI (Hungary) Liquidity Management LLC
                          Perot Systems TSI (Mauritius) Pvt. Ltd.
                          Perot Systems TSI (Middle East) FZ‐LLC
                          Perot Systems TSI (Netherlands) B.V.
                          PrSM Corporation
                          PSC GP Corporation
                          PSC Healthcare Software, Inc.
                          PSC LP Corporation
                          PSC Management Limited Partnership
                          PSM Holdings 1, Inc.
                          PSM Holdings 2, Inc.
                          PSM Holdings 1 L.L.C.
                          PSM Holdings 2 L.L.C.
                          PT Dell Indonesia
                          Q.S.I. Quest Software Israel Limited
                          QSFT India Private Ltd. Inc.
                          QSFT Svenska AB
                          QSS Group, Inc.
                          Quest Acquisition Corporation
                          Quest Holding Company, LLC
                          Quest Holdings Sarl
                          Quest Java Support Center,BV
                          Quest New Zealand Ltd
                          Quest Public Sector Inc.
                          Quest Scandanavia AS
                          Quest Software (UK) Ltd.
                          Quest Software (Zhuhai) Ltd.
                          Quest Software Beijing Company Limited
                          Quest Software Belgium
                          Quest Software Canada, Inc.
                          Quest Software Company Limited
                          Quest Software Espana, SL
                          Quest Software France Sarl
                          Quest Software Gmbh
                          Quest Software Greater China Limited
                          Quest Software Int'l Limited
                          Quest Software Italia Srl
                          Quest Software Japan Ltd
                          Quest Software Korea Ltd.
                          Quest Software Limited (Lecco HK)
                          Quest Software Mexico S. de R.L. de C.V.
                          Quest Software Netherlands B.V.
                          Quest Software Norge S/A
                          Quest Software Pty, Ltd.
                          Quest Software Public Sector Inc
                          Quest Software Sales Sdn Bhd
                          Quest Software Singapore Pty Limited
                          Quest Software Switzerland Gmbh
                          Quest Software, Inc.
                          Quest Software, Ltd.
                          QuickCyckem Inc.
                          QuikCycle Inc.
                          Safari I, Inc.
                          Safari II GP LLC
                          Safari II, Inc.
                          Safari Limited II LP
                          Safari Limited Partnership
                          ScriptLogic Australia
         Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 25 of 48


                                                                                Date of
Entity                    Subsidiaries                                         Exclusion
                          ScriptLogic Corporation
                          SecureWorks Holding Corp.
                          SecureWorks Inc.
                          SecureWorks UK Ltd.
                          SecureWorks UK Ltd. ‐ Finland Branch
                          Smarsh CRM Service, Inc.
                          Smarsh Inc.
                          Software Ltd Russia Rep Office
                          SonicWALL AG
                          SonicWALL BV
                          SonicWALL BV ‐ Australia Branch
                          SonicWALL BV ‐ Beijing Rep.Office
                          SonicWALL BV ‐ Belgium Branch
                          SonicWALL BV ‐ Canada Branch
                          SonicWALL BV ‐ Dubai Branch
                          SonicWALL BV ‐ France Branch
                          SonicWALL BV ‐ Germany Branch
                          SonicWALL BV ‐ HongKong Branch
                          SonicWALL BV ‐ India Branch
                          SonicWALL BV ‐ Ireland Branch
                          SonicWALL BV ‐ JapanBranch
                          SonicWALL BV ‐ Korea Branch
                          SonicWALL BV ‐ Singapore Branch
                          SonicWALL BV ‐ Spain Branch
                          SonicWALL BV ‐ Sweden Branch
                          SonicWALL BV ‐ Taiwan Branch
                          SonicWALL BV ‐ UK Branch
                          SonicWALL Infosecurity Private Limited
                          SonicWALL L.L.C.
                          SonicWALL Mexico, S de RL de CV
                          SonicWall Services Private Limited
                          SonicWALL Shanghai Limited
                          SonicWALL, Inc.
                          Support Center,BV (pka Sitraka)
                          Surgient, Inc.
                          Symlabs Espana, S.L.
                          Symlabs Inc.
                          Symlabs S.A. Portugal
                          Transaction Applications Group, Inc.
                          Trellia Networks, Inc.
                          Turin Networks India Pvt. Ltd.
                          Turin Networks International, Inc.
                          TXZ Holding Company Limited
                          Vintela Australia Pty., Ltd
                          Vintela Pty, Ltd.
                          Vintela, Inc.
                          VirtualFabrix Inc.
                          Vizioncore
                          Vkernel Corp.
                          Wedgetail Communications Inc.
                          WyseAustralia Pty. LtdAustralia
                          Wyse International, Inc.
                          Wyse International L.L.C.
                          WyseTechnology (Beijing) Co. Ltd China
                          WyseTechnology (Canada) Ltd.
                          WyseTechnology (UK), LTD
                          WyseTechnology Gmbh Germany
                          WyseTechnology Holdings (Cayman) Ltd.
                          WyseTechnology Inc.
                          WyseTechnology International B.V.
                          WyseTechnology KK Japan
                          WyseTechnology L.L.C.
                          WyseTechnology Ltd Taiwan
                          WyseTechnology SA France
                          WyseTechnology Sales &Marketing India Private Ltd.
                          WyseTechnology Singapore Pte Ltd
              Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 26 of 48


                                                                                           Date of
Entity                         Subsidiaries                                               Exclusion
                               WyseTechonology China (HK) Ltd.
                               WyseTechonology S.A de C.V.
                               WyseTechonology Software Development India Private Ltd.

Sharp Corporation              Sharp Electronics Corporation                              6/26/2014
                               Sharp Manufacturing Company of America
                               Sharp Electronics Manufacturing Company of America
                               Sharp Electronics Manufacturing Company of America, Inc.
Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 27 of 48




                  Exhibit 2
   Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 28 of 48



                                                      One Atlantic Center
                                                   1201 West Peachtree Street
                                                    Atlanta, GA 30309-3424

                                                          404-881-7000
                                                        Fax: 404-253-8488
                                                        www.alston.com

Debra D. Bernstein                                  Direct Dial: 404-881-4476                 Email: debra.bernstein@alston.com


                                                       July 10, 2014


VIA EMAIL

James H. Mutchnik
Kirkland & Ellis LLP
300 North LaSalle
Chicago, IL 60654
james.mutchnik@kirkland.com

         Re:          In re Cathode Ray Tube (CRT) Antitrust Litigation, No. 07-cv-5944

Dear Jim:

        Thank you for speaking with me on July 8, 2014. To follow up on that call, we
request that you please let us know by July 14, 2014, whether the Hitachi Defendants will
contend that Dell should not be excluded from the Direct Purchaser Plaintiff Hitachi
settlement class. Can you please let us know times in the afternoon on Monday that you
are available to speak and discuss your position?

                                                                  Regards,

                                                                  /s/ Debra D. Bernstein

                                                                  Debra D. Bernstein
DDB

cc: Craig A. Benson
    James M. Wagstaffe




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Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 29 of 48




                  Exhibit 3
   Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 30 of 48



                                                      One Atlantic Center
                                                   1201 West Peachtree Street
                                                    Atlanta, GA 30309-3424

                                                          404-881-7000
                                                        Fax: 404-253-8488
                                                        www.alston.com

Debra D. Bernstein                                  Direct Dial: 404-881-4476                 Email: debra.bernstein@alston.com


                                                       July 10, 2014


VIA EMAIL

James L. McGinnis
Sheppard Mullin LLP
Four Embarcadero Center, 17th Floor
San Francisco, CA 94111
jmcginnis@sheppardmullin.com

         Re:          In re Cathode Ray Tube (CRT) Antitrust Litigation, No. 07-cv-5944

Dear Jim:

        Thank you for speaking with me on July 8, 2014. To follow up on that call, we
request that you please let us know by July 14, 2014, whether the SDI Defendants will
contend that Dell should not be excluded from the Direct Purchaser Plaintiff SDI
settlement class. Can you please let us know times in the afternoon on Monday that you
are available to speak and discuss your position?

                                                                  Regards,

                                                                  /S/ Debra D. Bernstein

                                                                  Debra D. Bernstein
DDB

cc: Craig A. Benson
    James M. Wagstaffe




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Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 31 of 48




                  Exhibit 4
  Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 32 of 48



From: Adelson, Eliot A. [mailto:eadelson@kirkland.com]
Sent: Friday, July 18, 2014 8:59 PM
To: Bernstein, Debra; .CRT.Benson, Craig
Cc: Mutchnik, James H.; Mike Scarborough
Subject: RE: CRT - Dell and Sharp DPP settlement opt-out notices

Debra and Craig,

Like SDI, Hitachi does not waive any rights it may have from your clients’ failure to submit timely
opt-out notices. If Dell and Sharp file motions seeking to retroactively enlarge the time to opt
out of Hitachi’s CRT DPP settlement class, we will respond to those motions at that time.

Best,

Eliot

Eliot A. Adelson
Kirkland & Ellis LLP
555 California Street
27th Floor
San Francisco, CA 94104
415-439-1413


From: Mike Scarborough [mailto:MScarborough@sheppardmullin.com]
Sent: Friday, July 18, 2014 3:56 PM
To: Bernstein, Debra (debra.bernstein@alston.com); cbenson
Cc: Adelson, Eliot A.
Subject: CRT - Dell and Sharp DPP settlement opt-out notices

Debra and Craig – this follows up on our recent discussions and your request to provide SDI’s
position with respect to the settlement opt-out notices Dell and Sharp submitted two weeks
after the opt-out deadline for the SDI and Hitachi CRT DPP settlement class.

The June 12 opt-out date was a deadline imposed by the Court, not SDI. SDI does not waive any
rights it may have from your clients’ failure to submit timely opt-out notices, or any actions the
Court may take as a result of such untimely submissions. However, to the extent Dell and/or
Sharp intend to file a motion with the Court seeking to retroactively enlarge by two weeks their
time to effectively opt out of the SDI and Hitachi CRT DPP settlement class, SDI takes no position
with respect to such motion, and will of course proceed in accordance with the Court’s ruling on
any such motion.

I hope this clarifies SDI’s position on this issue. Have a good weekend,

Mike

Mike Scarborough
415.774.2963 | direct
415.403.6052 | direct fax
MScarborough@sheppardmullin.com | Bio
  Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 33 of 48




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                                                 2
Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 34 of 48




                  Exhibit 5
  Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 35 of 48



From: Bernstein, Debra
Sent: Saturday, July 19, 2014 12:52 PM
To: 'Adelson, Eliot A.'; 'Mike Scarborough'; 'Mutchnik, James H.'
Cc: .CRT.Benson, Craig; Jim Wagstaffe (wagstaffe@kerrwagstaffe.com)
Subject: RE: CRT - Dell and Sharp DPP settlement opt-out notices

Mike and Eliot-

Thank you for your e-mails.

Will you agree to stipulate that you will not challenge the timeliness of Dell’s opt out
notice so we need not waste the Court’s time with this issue, or based on your notes
below, will you agree you will not oppose Dell’s motion to deem the opt out timely,
should Dell file a motion?

Regards,
Debra


Debra D. Bernstein
Alston & Bird LLP
1201 W. Peachtree St.
Atlanta, GA 30309
(404) 881-4476 (direct)
(404) 253-8488 (fax)


From: Adelson, Eliot A. [mailto:eadelson@kirkland.com]
Sent: Friday, July 18, 2014 8:59 PM
To: Bernstein, Debra; .CRT.Benson, Craig
Cc: Mutchnik, James H.; Mike Scarborough
Subject: RE: CRT - Dell and Sharp DPP settlement opt-out notices

Debra and Craig,

Like SDI, Hitachi does not waive any rights it may have from your clients’ failure to submit timely
opt-out notices. If Dell and Sharp file motions seeking to retroactively enlarge the time to opt
out of Hitachi’s CRT DPP settlement class, we will respond to those motions at that time.

Best,

Eliot

Eliot A. Adelson
Kirkland & Ellis LLP
555 California Street
27th Floor
San Francisco, CA 94104
415-439-1413
  Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 36 of 48




From: Mike Scarborough [mailto:MScarborough@sheppardmullin.com]
Sent: Friday, July 18, 2014 3:56 PM
To: Bernstein, Debra (debra.bernstein@alston.com); cbenson
Cc: Adelson, Eliot A.
Subject: CRT - Dell and Sharp DPP settlement opt-out notices

Debra and Craig – this follows up on our recent discussions and your request to provide SDI’s
position with respect to the settlement opt-out notices Dell and Sharp submitted two weeks
after the opt-out deadline for the SDI and Hitachi CRT DPP settlement class.

The June 12 opt-out date was a deadline imposed by the Court, not SDI. SDI does not waive any
rights it may have from your clients’ failure to submit timely opt-out notices, or any actions the
Court may take as a result of such untimely submissions. However, to the extent Dell and/or
Sharp intend to file a motion with the Court seeking to retroactively enlarge by two weeks their
time to effectively opt out of the SDI and Hitachi CRT DPP settlement class, SDI takes no position
with respect to such motion, and will of course proceed in accordance with the Court’s ruling on
any such motion.

I hope this clarifies SDI’s position on this issue. Have a good weekend,

Mike

Mike Scarborough
415.774.2963 | direct
415.403.6052 | direct fax
MScarborough@sheppardmullin.com | Bio


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Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 37 of 48




                  Exhibit 6
  Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 38 of 48



From: Adelson, Eliot A. [mailto:eadelson@kirkland.com]
Sent: Saturday, July 19, 2014 1:03 PM
To: Bernstein, Debra; Mike Scarborough; Mutchnik, James H.
Cc: .CRT.Benson, Craig; Jim Wagstaffe (wagstaffe@kerrwagstaffe.com)
Subject: RE: CRT - Dell and Sharp DPP settlement opt-out notices

Debra,

No, we are not willing to enter into that type of stipulation or agreement.

Eliot

Eliot A. Adelson
Kirkland & Ellis LLP
555 California Street
27th Floor
San Francisco, CA 94104
415-439-1413


From: Bernstein, Debra [mailto:Debra.Bernstein@alston.com]
Sent: Saturday, July 19, 2014 9:52 AM
To: Adelson, Eliot A.; Mike Scarborough; Mutchnik, James H.
Cc: .CRT.Benson, Craig; Jim Wagstaffe (wagstaffe@kerrwagstaffe.com)
Subject: RE: CRT - Dell and Sharp DPP settlement opt-out notices

Mike and Eliot-

Thank you for your e-mails.

Will you agree to stipulate that you will not challenge the timeliness of Dell’s opt out
notice so we need not waste the Court’s time with this issue, or based on your notes
below, will you agree you will not oppose Dell’s motion to deem the opt out timely,
should Dell file a motion?

Regards,
Debra


Debra D. Bernstein
Alston & Bird LLP
1201 W. Peachtree St.
Atlanta, GA 30309
(404) 881-4476 (direct)
(404) 253-8488 (fax)


From: Adelson, Eliot A. [mailto:eadelson@kirkland.com]
Sent: Friday, July 18, 2014 8:59 PM
To: Bernstein, Debra; .CRT.Benson, Craig
  Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 39 of 48



Cc: Mutchnik, James H.; Mike Scarborough
Subject: RE: CRT - Dell and Sharp DPP settlement opt-out notices

Debra and Craig,

Like SDI, Hitachi does not waive any rights it may have from your clients’ failure to submit timely
opt-out notices. If Dell and Sharp file motions seeking to retroactively enlarge the time to opt
out of Hitachi’s CRT DPP settlement class, we will respond to those motions at that time.

Best,

Eliot

Eliot A. Adelson
Kirkland & Ellis LLP
555 California Street
27th Floor
San Francisco, CA 94104
415-439-1413


From: Mike Scarborough [mailto:MScarborough@sheppardmullin.com]
Sent: Friday, July 18, 2014 3:56 PM
To: Bernstein, Debra (debra.bernstein@alston.com); cbenson
Cc: Adelson, Eliot A.
Subject: CRT - Dell and Sharp DPP settlement opt-out notices

Debra and Craig – this follows up on our recent discussions and your request to provide SDI’s
position with respect to the settlement opt-out notices Dell and Sharp submitted two weeks
after the opt-out deadline for the SDI and Hitachi CRT DPP settlement class.

The June 12 opt-out date was a deadline imposed by the Court, not SDI. SDI does not waive any
rights it may have from your clients’ failure to submit timely opt-out notices, or any actions the
Court may take as a result of such untimely submissions. However, to the extent Dell and/or
Sharp intend to file a motion with the Court seeking to retroactively enlarge by two weeks their
time to effectively opt out of the SDI and Hitachi CRT DPP settlement class, SDI takes no position
with respect to such motion, and will of course proceed in accordance with the Court’s ruling on
any such motion.

I hope this clarifies SDI’s position on this issue. Have a good weekend,

Mike

Mike Scarborough
415.774.2963 | direct
415.403.6052 | direct fax
MScarborough@sheppardmullin.com | Bio




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  Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 40 of 48




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                                                 3
Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 41 of 48




                  Exhibit 7
  Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 42 of 48



From: Mike Scarborough [mailto:MScarborough@sheppardmullin.com]
Sent: Saturday, July 19, 2014 4:09 PM
To: Bernstein, Debra; eadelson; Mutchnik, James H.
Cc: .CRT.Benson, Craig; Jim Wagstaffe (wagstaffe@kerrwagstaffe.com)
Subject: RE: CRT - Dell and Sharp DPP settlement opt-out notices

Debra,

As explained below, the June 12 opt-out date was a deadline imposed by the Court, not SDI, and
SDI does not waive any rights it may have based on the failure to submit timely opt-out notices,
or any actions the Court may take as a result of such untimely submissions. Speaking just for
SDI, if Dell and/or Sharp file a motion with the Court seeking to retroactively enlarge their time
to effectively opt out of the SDI and Hitachi CRT DPP settlement class, SDI intends to take no
position with respect to such motion (assuming our communications on this point are accurately
represented to the Court).

Mike

From: Bernstein, Debra [mailto:Debra.Bernstein@alston.com]
Sent: Saturday, July 19, 2014 9:52 AM
To: eadelson; Mike Scarborough; Mutchnik, James H.
Cc: cbenson; Jim Wagstaffe (wagstaffe@kerrwagstaffe.com)
Subject: RE: CRT - Dell and Sharp DPP settlement opt-out notices

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Thank you for your e-mails.

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notice so we need not waste the Court’s time with this issue, or based on your notes
below, will you agree you will not oppose Dell’s motion to deem the opt out timely,
should Dell file a motion?

Regards,
Debra


Debra D. Bernstein
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1201 W. Peachtree St.
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From: Adelson, Eliot A. [mailto:eadelson@kirkland.com]
Sent: Friday, July 18, 2014 8:59 PM
To: Bernstein, Debra; .CRT.Benson, Craig
Cc: Mutchnik, James H.; Mike Scarborough
Subject: RE: CRT - Dell and Sharp DPP settlement opt-out notices
  Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 43 of 48




Debra and Craig,

Like SDI, Hitachi does not waive any rights it may have from your clients’ failure to submit timely
opt-out notices. If Dell and Sharp file motions seeking to retroactively enlarge the time to opt
out of Hitachi’s CRT DPP settlement class, we will respond to those motions at that time.

Best,

Eliot

Eliot A. Adelson
Kirkland & Ellis LLP
555 California Street
27th Floor
San Francisco, CA 94104
415-439-1413


From: Mike Scarborough [mailto:MScarborough@sheppardmullin.com]
Sent: Friday, July 18, 2014 3:56 PM
To: Bernstein, Debra (debra.bernstein@alston.com); cbenson
Cc: Adelson, Eliot A.
Subject: CRT - Dell and Sharp DPP settlement opt-out notices

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time to effectively opt out of the SDI and Hitachi CRT DPP settlement class, SDI takes no position
with respect to such motion, and will of course proceed in accordance with the Court’s ruling on
any such motion.

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Mike

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  Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 44 of 48



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                  Exhibit 8
Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 46 of 48
Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 47 of 48




                  Exhibit 9
Case 4:07-cv-05944-JST Document 2696-5 Filed 07/22/14 Page 48 of 48
